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 S.




           IN AND FOR THE THIRTEENTH
           JUDICIAL CIRCUIT OF FLORIDA
           IN AND FOR HILLSBOROUGH COUNTY,
           FLORIDA — CIVIL/COUNTY DIVISION



           KRISTEN L. EMRICH,

                    Plaintiff,
                                                                           Case No.
           V.
                                                                           Division:
           ALLY FINANCIAL, INC.,

                    Defendant.


                                                       COMPLAINT


                    Plaintiff, Kristin Emrich ("Plaintiff"), tiles suit against Defendant, Ally Financial, Inc.

           ("Defendant"), and alleges as follows:

                                           Introduction, Jurisdiction and Venue

                    1.        Defendant knowingly continues to collect an illegitimate debt from Plaintiff and

           has spread false information affecting Plaintiff's reputation in violation of the Fair Credit

           Reporting Act, 15 U.S.C. § 1681s-2(b) ("FCRA") and Florida's Credit Collections Practices Act,

           Section 559.55 et seq.. Florida Statutes ("FCCPA").

                    2.       Prior to retaining counsel, Plaintiff attempted in good faith to resolve this matter

           directly with Defendant to no avail.

                    3.       This suit is for damages in excess of $15,000.00, excluding court costs and

           attorney's fees.




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          4.       Plaintiff is an individual domiciled in Hillsborough County, Florida.

          5.       Defendant is a foreign corporation authorized to do business in Florida with its

 headquarters located in Detroit, Michigan. Defendant transacts business and has branch offices

 across the United States, and specifically it conducts business in Hillsborough County, Florida.

          6.       As such, venue is proper in Hillsborough County, Florida.

          7.       Defendant is a "person" as that term is defined by Fla. Stat. § 1.01(3).

          8.       The FCCPA applies to any "person" collecting or attempting to collect a

 consumer debt. E.g., Gann v. BAC Home Loans Servicing LP, 145 So. 3d 906 (Fla. 2d DCA

 2014); Schauer v. General Motors Acceptance Corp., 819 So. 2d 809, 811-12 (Fla. 4th DCA

 2002).

          9.       All conditions precedent to bring this claim either were performed, occurred or

 were waived.

          10.      Plaintiff retained the undersigned counsels and has obligated herself to the

 payment of a reasonable attorney's fee for the prosecution of this action.


                                     Facts Common to All Counts


          11.      Plaintiff re-alleges and reincorporates paragraphs 1 through 10 above.

          12.      Plaintiff co-signed a Retail Installment Sale Contract for the purchase of a used

 2015 Hyundai Elantra on July 23, 2016, for her father-in-law, Scott Emrich, from Courtesy

 Hyundai ("Contract"), a true and correct copy is attached as Exhibit A.

          13.      The Contract was financed by Defendant. See Exhibit A.

          14.      Subsequently, the vehicle was involved in an accident and determined to be a total

 loss.



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          15.      Among the insurance proceeds for the vehicle, including the Gap insurance policy

 included with the Contract and a refund of the warranties include with the Contract, Defendant

 received payment for the outstanding balance on the vehicle.

          16.      Following receipt of the funds above, Defendant sent Plaintiff correspondence

 dated February 20, 2018, stating "Congratulations on paying off your auto financing!" ("Payoff

 Letter"), a true and correct copy is attached as Exhibit B.

          17.      Defendant included with the Payoff Letter Plaintiff's original Contract stamped

 "Paid in Full." See top right corner of Exhibit A

       - 18.       Nevertheless, in an attempt to collect a debt, Defendant thereafter sent Plaintiff an

 invoice for $288.11 dated March 6, 2018, a true and correct copy of which is attached as Exhibit

 C.

          19.      Confused by the invoice as Plaintiff understood her Contract to be "Paid in Full"

 and paid off, Plaintiff contacted Defendant by phone several times in an attempt to get an

 explanation as to why they were invoicing her for a paid in full obligation.

          20.      Plaintiff was given several different explanations by Defendant each time she

 contacted them and eventually was unable to get any resolution or clear answer to her paid in full

 obligation.

          21.      Meanwhile, Defendant added to the confusion as it continued to invoice Plaintiff

 in an attempt to collect a debt for varying amounts as evidenced by Defendant's correspondence

 dated April 19, 2018, which then claimed $353.22 was due, a true and correct copy is attached as

 Exhibit D.




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    ..


                   22.      Defendant is furnisher of information as contemplated by FCRA section 1681s-

          2(a) & (b), that regularly and in the ordinary course of business furnishes information to one or

          more consumer reporting agencies about consumer transactions or experiences with any

          consumer.

                   23.      During this period of time, Defendant furnished information regarding Plaintiff to

          consumer reporting agencies referencing her account as past due and delinquent, even though

          Defendant returned the Contract stamped "Paid in Full."

                   24.      On June 14, 2018, Plaintiff made formal written notification to Defendant of her

          dispute of their reporting her as past due and delinquent on Plaintiff's credit report and

          demanded Defendant make a proper validation of the alleged debt, and to take corrective action,

          a true and correct copy is attached as Exhibit E.

                   25.      In accordance with FCRA, on or about May 24, 2018, and on June 14, 2018,

          Plaintiff made formal written notification to Experian, Equifax and TransUnion (these are the

          major credit reporting agencies ("CRA")), disputing the existence of any remaining debt or

          delinquency from Defendant on Plaintiff's credit report following the pay-off of her vehicle on

          February 19, 2018, true and correct copies are attached as Composite Exhibit F.

                   26.      The CRAs promptly and properly gave notice to Defendant of Plaintiff's dispute,

          in accordance with the FCRA. However, Defendant failed to modify, delete or block the

          inaccurate information it reported on Plaintiff even after supposedly conducting an investigation

          and previously returning the Contract stamped "Paid in Full."

                   27.      Instead, Defendant validated the delinquency and debt and reported and continues

          to report inaccurate information as to Plaintiff to the CRAs and Plaintiff has suffered damages as

          a result of Defendant's conduct.



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               28.      Following Plaintiff's credit dispute and in line with Defendant's varying

      explanations of the alleged debt, it continued to send her invoices for differing amounts as

      exemplified by its correspondence dated September 5, 2018, then claiming a balance due of

      $156.84 and subsequent invoice dated September 9,2018, true and correct copies are attached as

      Composite Exhibit G.

               29.      On July 6, 2018, Defendant sent Plaintiff additional correspondence referencing

      her account was sent to collections to its "Asset Recovery Center," a true and correct copy is

      attached as Exhibit H.

               30.      Thereafter, and despite its previous correspondence advising Plaintiff her account

      was referred for collection, Defendant sent Plaintiff yet another invoice on July 10, 2018, this

      time claiming $156.84 remained due on her account, a true and correct copy of which is attached

      as Exhibit I.


                                           Fair Credit Reporting Act
                                 Count I: 15 U.S.C. §1681n — Willful Violations


               31.      Plaintiff re-alleges and reincorporates paragraphs 1-30 above.

               32.      The FCRA, 15 U.S.C. §§ 1681, et seq., closely regulates credit reporting activities

      and provides remedies for the failure to properly so report and maintain consumer credit records.

      The FCRA imposes affirmative duties on the furnishers of credit information such as Defendant,

      to assure the accuracy of that information when reporting it to CRAs, and have duties under 15

      U.S.C. §§ 1681s-2(b) to investigate and respond promptly to notices of consumer disputes.

              33.      Defendant received notice of Plaintiff's dispute regarding the alleged debt

      following the payoff of her vehicle, in accordance with the FCRA.




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          34.      Defendant had actual knowledge that it ended any relationship it had with

 Plaintiff as early as February 19, 2018, when it stamped the Contract "Paid in Full" and then

 returned it to Plaintiff with a letter congratulating her on paying off her auto financing. See

 Exhibit B.

          35.      Defendant willfully violated the FCRA by failing to comport with Section 1681s-

 2(b) as it failed to reasonably investigate the inaccurate information it supplied to the CRAs as to

 the Plaintiff's account despite having actual knowledge that it terminated the Contract by

 marking it "Paid in Full" and had returned it to her thereby ending all contractual liabilities.

          36.      Defendant willfully violated the FCRA as it knew the information it reported was

 inaccurate or incomplete and it failed either 1) to modify the information it reported; 2) to delete

 the information it reported as to Plaintiff; or 3) to permanently block the reporting of the

 information as to Plaintiff as required by 15 U.S.C. §§ 1681s-2(b)(1)(E).

          37.      Defendant willfully failed to report its inaccuracies concerning Plaintiff to the

 CRAs in compliance with the FCRA as required by 15 U.S.C. §§ 1681s-2(b)(1)(C) and (D), and

 instead verified the inaccurate information despite having actual knowledge that no debt could be

 owed on a "Paid in Full" Contract.

          38.      Defendant's inaccurate and incomplete credit reporting as to Plaintiff has caused

 damage to Plaintiff's credit reputation, caused her embarrassment and emotional distress.

          WHEREFORE, Plaintiff demands this Court enter judgment against Defendant for all

 damages, actual and statutory, whichever is greater, attorney's fees and costs as provided in any

 applicable contract, statute or rule, together with any such other and further relief as the Court

 deems just and proper.




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                                                   Fair Credit Reporting Act

                                        Count II: 15 U.S.C. §1681n — Negligent Violations

                       39.      Plaintiff re-alleges and reincorporates paragraphs 1-30 above.

                       40.      This Count for negligent violations of the FCRA is pled in the alternative to

              Count I.

                       41.      The FCRA, 15 U.S.C. §§ 1681, et seq., closely regulates credit reporting activities

              and provides remedies for the failure to properly so report and maintain consumer credit records.

              The FCRA imposes affirmative duties on the furnishers of credit information such as Defendant,

              to assure the accuracy of that information when reporting it to CRAs, and have duties under 15

              U.S.C. §§ 1681s-2(b) to investigate and respond promptly to notices of consumer disputes.

                       42.      Defendant received notice of Plaintiff's dispute regarding the alleged debt

              following the payoff of her vehicle, in accordance with the FCRA.

                       43.      Defendant had actual knowledge that it ended any relationship it had with

              Plaintiff as early as February 19, 2018, when it stamped the Contract "Paid in Full" and then

              returned it to Plaintiff with a letter congratulating her on paying off her auto financing. See

              Exhibit B.

                       44.      Defendant negligently violated the FCRA by failing to comport with Section

              1681s-2(b) as it failed to reasonably investigate the inaccurate information it supplied to the

              CRAs as to the Plaintiff's account despite having actual knowledge that it terminated the

              Contract by marking it "Paid in Full" and had returned it to her thereby ending all contractual

              liabilities.




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          45.      Defendant negligently violated the FCRA as it should have known the

  information it reported was inaccurate or incomplete and it failed either 1) to modify the

  information it reported; 2) to delete the information it reported as to Plaintiff; or 3) to

  permanently block the reporting of the information as to Plaintiff as required by 15 U.S.C. §§

  1681 s-2(b)(1)(E).

          46.      Defendant negligently failed to report its inaccuracies concerning Plaintiff to the

 CRAs in compliance with the FCRA as required by 15 U.S.C. §§ 1681s-2(b)(1)(C) and (D), and

  instead verified the inaccurate and incomplete information despite having actual knowledge that

  no debt could be owed on a "Paid in Full" Contract.

          47.      Defendant's inaccurate and incomplete credit reporting as to Plaintiff has caused

 damage to Plaintiff's credit reputation, caused her embarrassment and emotional distress.

          WHEREFORE, Plaintiff demands this Court enter judgment against Defendant for all

 damages, actual and statutory, whichever is greater, attorney's fees and costs as provided in any

 applicable contract, statute or rule, together with any such other and further relief as the Court

 deems just and proper.

                               Florida's Credit Collection Practices Act

                             Count III — Section 559.72, Florida Statutes

          48.      Plaintiff re-alleges and reincorporates paragraphs 1-30 above.

          49.      This is a Count for violations of the FCCPA and pled in addition to Counts I and

 II above.

          50.      Defendant violated Fla. Stat. § 559.72(5) by disclosing information affecting the

 debtor's reputation, whether or not for credit worthiness, with knowledge or reason to know that

 the information is false.



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              51.      Defendant violated Fla. Stat. § 559.72(6) by disclosing information concerning

     the existence of a debt known to be reasonably disputed by the debtor without disclosing that

     fact.

              52.      Defendant violated Fla. Stat. § 559.72(7) by willfully communicating with the

     debtor with such frequency as can reasonably be expected to harass the debtor or her or his

     family, or willfully engage in other conduct which can reasonably be expected to abuse or harass

     the debtor or any member of her or his family.

              53.      Defendant violated Fla. Stat. § 559.72(9) by claiming, attempting, or threatening

     to enforce the debt when Defendant knew the debt was not legitimate.

              54.      Pursuant to Fla. Stat. § 559.77(2), Plaintiff is entitled to statutory damages

     sustained as a result of Defendant's failure to comply with Fla. Stat. §§ 559.72(5), (6), and (7).

              WHEREFORE, Plaintiff demands this Court enter judgment against Defendant for all

     damages, actual and statutory, whichever is greater, attorney's fees, litigation and costs of suit,

     together with any such other and further relief as the Court deems just and proper.


                                          COUNT IV
                               DECLARATORY AND INJUNCTIVE RELIEF

              55.      Plaintiff incorporates Paragraphs 1 through 30 above as if fully set forth herein.

              56.      This is a Count for injunctive relief pursuant to the FCCPA and pled in addition to

     Counts I, II, and III above.

              57.      Pursuant to the FCCPA, Fla. Stat. § 559.77(2), Plaintiff seeks a declaration that

     Plaintiff does not owe Ally Financial, Inc. any money, that Ally Financial, Inc. disclosed

     information affecting the debtor's reputation with knowledge or reason to know that the

     information is false in violation of Fla. Stat. section 559.72(5), that Ally Financial, Inc.



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  improperly disclosed details of Plaintiff's alleged debt with Ally Financial in violation of Fla.

  Stat. section 559.72(6), that Ally Financial, Inc.'s assertion that Plaintiff is indebted to Ally

  Financial, Inc. violates section 559.72(9) of the Florida Consumer Collection Practices Act, and

  further requests an injunction against such further practices by Defendant.

           58.      Pursuant to the FCCPA, Fla. Stat. § 559.77(2), Plaintiff seeks a declaration that

  Defendant does not have the legal right to attempt to collect any further money from Plaintiff,

  that any attempts by Defendant to collect violates section 559.72(9) of the Florida Consumer

  Collection Practices Act, and further requests an injunction against such further practices by

  Defendant.

           59.      The count seeks a determination as to the rights of the parties relating to

  Defendants' assertion that Plaintiff has not paid for the automobile.

           60.      This Court has jurisdiction to issue a declaration as to the legality of the

  complained-of conduct, under Florida's Declaratory Judgment Act, Chapter 86, Florida Statutes,

  and section 559.77(2) of the FCCPA.

           61.      By virtue of the facts recited above, an actual, justiciable controversy exists

  between the parties relating to their legal rights regarding the alleged debt.

           62.      Injunctive relief preventing Defendant from continuing to bill Plaintiff for a debt

  Plaintiff does not owe is required to protect Plaintiff from possible further collection activity by

  Defendant including, but not limited to, reporting the illegitimate debt to credit reporting

  agencies, which could seriously affect Plaintiff's reputation and ability to obtain credit.

           WHEREFORE, Plaintiff demands this Court enter judgment against Defendant for

  declaratory and injunctive relief, attorney's fees, litigation and costs of suit, together with any

  such other and further relief as the Court deems just and proper.



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                                              Demand for Jury Trial


               The Plaintiff demands a trial by jury on all the issues so triable.




                                              CRAIG E. ROTHBURD, P.A.


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                                              CERPA File No. 6667

                                                and



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                                              Counsel for Plaintiff




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         EXHIBIT A
                  a

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                                              RETAIL INSTALLMENT SALE CONTRACT - SIMPLE FINANCE CHARGp A .
                                                                             (WITH ARBITRATION PROVISION)                                                      ktiu       IN FULL
      1.A.AL# 1137.36 •                                                                                                                                           TE: afthf
                                                   Dealer Number                                   rInntrent Number
                                                                                                        CONTV 037364939
      ygiintrnd_Adcfre.ls                                               Co-Buyer Name and Adc          R 001. 00001432369                       /00108 BPULL
                LYNN EMRICH                                               SCOTT ALLEN E
                                                                          4302 GUNN HWY                                                     PFOLD                                         6353
             FL 33618                                                     TAMPA FL 3361
     HILLSBOROUGH
Buyer's Birth Month:
                                                                          HILLSBOROUGH
                                                                        Co-Buyer's Birth Month:               Il 111111111111111111110111111111 111111111111111111111111111                      14

You, the Buyer (and Co-Buyer, if any), may buy the vehicle below for cash or on credit. By signing this conllt, yvu u ,.......... — _                                                            vehicle
7n credit under the agreements On the front and back of this contract. You agree to pay the Seller-Creditor (sometimes "we"             or "us" in this
..:ontract) the Amount Financed and Finance Charge in U.S. funds according to the payment schedule below. We will figure your finance charge on a daily
 3asis at the Base Rate of     h • 0 40C% per year. The Truth-In-Lending Disclosures below are part of this contract.
 You have thorouqhly inspected,accepted,and approved the vehicle in all respects.
                                                Make           Weight
New/UsecUDemo                   Year          and Model          (lbs.)                  Vehicle Identification Number                           Primary Use For Which Purchased
                                                                                                                                              Personal, family, or household unless
                                                                                                                                                   otherwise indicated below
                                                HYuN                                                      6353                          II business
                               21:\15           ELANTRA                                                                                0 agricultural             •

You agree that we advised you whether, based on seller's knowledge, the vehicle was titled, registered, or used as a taxicab, police vehicle, short term rental or is
a vehicle that is rebuilt or assembled from parts, a kit car, a replica, a flood vehicle, or a manufacturer buy back.


                               FEDERAL TRUTH-IN-LENDING DISCLOSURES                                                                      Insurance. You may buy the physical damage insur-
                                                                                                                                         ance this contract requires (see back) from anyone
    ANNUAL                          FINANCE                  Amount                     Total of              Total Sale
                                                                                                                                         you choose who is acceptable to us. You are not
  PERCENTAGE                        CHARGE                  Financed                  Payments                   Price
                                                                                                                                         required to buy any other insurance to obtain credit
      RATE                          The dollar            The amount of            The amount you           The total cost of
                                                                                                                                         unless the box indicating Vendor's Single Interest
    The cost of                     amount the            credit provided         will have paid after     your purchase on
                                                                                                                                         Insurance is required is checked below. Your choice of
   your credit as                    credit will             to you or            you have made all         credit, including
                                                                                                                                         Insurance providers will not affect our decision to sell
   a yearly rate,                    cost you.            on your behalf.            payments as               your down
                                                                                                                                         you the vehicle or extend credit to you.
                                                                                       scheduled.             payment of
                                                                                                                                              If any insurance Is checked below, policies or
                                                                                                          $         7 50() ili'l is      certificates from the named insurance companies           will
                           %   $        3692.52 $             1791`... 7 3        $. :1608.25             $         2 4 103 25           describe the terms and conditions,

Your Payment Schedule Will Be:                                                                        (e means an estimate                  Check the Insurance you want and sign below:
         Number of                  Amount of                       When Payments                                                                    Optional Credit Insurance
1._all)    1ments                   Payments                           Are Due                                                          0 Credit Life:      0 Buyer 0 Co-Buyer              0 Both
              7 c_                      :,33.11
                                                     Monthly beginning                                                                  Term                N!L
                                                                                                                                        0 Credit Disability: 0 Buyer 0 Co-Buyer                0 Both

      k,l'A                          ti , A                                          .                                                  Term                NIA
                                                                                                                                        Premium:
     Or As Follows:                  N 'A                                                                                                   Credit Life $                 N! A
                                                                                                                                            Credit Disability $                  ik,' A
                                                                                                                                        Insurance Company Name
  Late Charge. If payment is not received in full within                10    days after it is due, you wil! pay a late charge           NA

  of          5       °. of each Installment.                                                                                           Home Office Address
  Prepayment. If you pay off all your debt early, you may have to pay a penalty.                                                         NcA

  Security Interest. You are giving a security interest in the vehicle being purchased.                                                Credit life insurance and credit disability insurance are not
                                                                                                                                       required to obtain craft Your decision to buy or not to buy
  Additional Information: See this contract for more information including Information about nonpayment,                               credit tile insurance and crett disability insurance will not be a
                                                                                                                                       factor in the credit approval process They will not be provided
  default, prepayment penalties, any required repayment in full before the scheduled date and security interest.
                                                                                                                                       unless you sign and agree to pay the extra cost. If you choose
                                                                                                                                       this insurance, the cost is shown in Item 4A of the itemization
                                                                                                                                       of Amount Financed. Credit life insurance is based on your
 ITEMIZATION OF AMOUNT FINANCED ..                                                                                                     original payment schedule.This insurance may not pay all you
 1     Cash Price (including $       116 2 • '3 sa es tax)                                               $ 14.9                (1)     owe on this contract if you make late payments. Credit disability
                                                                                                                                       insurance does not cover any increase in your payment or in
 2 Total Downpayment =                                                                                                                 the number of payments.
              Gross Trade-In Allowance                                                                         N/A
                                                                                                                                       If the box above is checked to indtate that you want credit Me
              Less Pay Off Made By Seller (e)                                                                  NJ A                    insurance, please read and sign thelollowing acknowledgments:
                                                                                                         NJA                           1. You understand that you have the option of assigning any
              Equals Net Trade In                                                                                                      other policy or policies you own or may procure for the purpose
              + Cash                                                                           $      2sOn nn                          of covering this extension of credit and that the policy need not
                 + Other
                                N                                                                         N/A                          be purchased from us in order to obtain the extension of credit.

                                                                                                       $  2 ca11) ()Il         (2)      X                                           ..: A
              (If total downpayment is negative, enter '0" and see 4J below)
                                                                                                                                       Buyer'
                                                                                                                                                 I%.
                                                                                                         $ 174/12 1:1<1 (3)                                                                   Date
 3 Unpaid Balance of Cash Price (1 minus 2)
       Other Charges Including Amounts Paid to Others on Your Behalf                                                                    X      N/A.                                   N/ 4
                                                                                                                                        Co-Buyer                                                Date
       (Seller may keep part of these amounts):
                                                                                                                                       2. You understand that the credit life coverage may be
       A Cost of Optional Credit Insurance Paid to Insurance                                                                           deferred if, at the time of application, you are unable to engage
                                                                                                                                       in employment or unable to perform normal activities of a
          Company or Companies.                                                                                                        person of Ike age and sex. (You need not sign this acknowl-
          Life                                                                       N/A                                               edgement if the proposed credit lite insurance policy does not
         Disability_                                                                                                                   contain this restriction.)
                                                                                     N/A      $_
       B Vendor's Single Interes1 Insurance Paid to Insurance Company                                         NA                        X      h. l :A
                                                                                                                                       Rimal                                                  Date
                                                                                                               '•
                         •
   •              Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19person'
                                                                           Page Of like14  of -xliu
                                                                                       ageincrie 60 -nieP
                                                                                                    PageID          19acknowl-
                                                                                                          not sign this
          Life                                                                           N/A                                                  edgement if the proposed credit lite insurance policy does not
        Disability                                                                       N/A                         N/A                      contain this restriction.)
   - B Vendor's Single Interest Insurance Paid to Insurance Company                                                  N/A                      X 'IA
                                                                                                                                                                                                  N/A
     C Other Optional Insurance Paid to Insurance Company or Companies                                                N/                      Buyer'                                                             Date
       D Optional Gap Contract                                                                                   r4C1 on                      X       NpA                                  N/A-------
       E Official Fees Paid to Government Agencies                                                                   NI A                     Co-Buyer                                              Date
                                                                                                                                              3. You understand that the benefits under the policy will ter-
       F Government Documentary Stamp Taxes                                                                               nn                  minate when you reach a certain age and affirm that your age
       G Government Taxes Not Included In Cash Price                                                                                          is accurately represented on the application or policy.
       H Government License and/or Registration Fees                                                                                          X N/a,
                                                                                                                                                                                                 N /A
                        License/Registration Fee                                                                                              Buyer                                                              Date
4ift                                                                                                $        16G R5_
noiC      Government Certificate of Title Fees                                                                  N./ A                         X N/A                                              N/A
       J Other Charges (Seller must identify who is paid and                                                                                  Co-Buyer                                              —Fie—
          describe purpose)                                                                                                                                 Other Optional Insurance
            to    A                                  for Prior Credit or Lease Balance (e)                        N/A                         r_3 .141                                                hi/A
            to F)./S INC                            for SERV CONTRACT                                      73ng no                                    Type of Insurance                               ' 'Teirn
            10 N/A                                  far N/A                                                         N/A                                                    NI A
                                                                                                                                              Premium $
             toN/R                                  torN/A                                                          N/A                                                           N"A
                                                                                                                                              Ins. Co. Maine & Address
             toFWS INC                              torMA INT PLAN                                        1438.00
             toN/A                                  torN /A                                                    /A                            11/ A
             toN /A                                 forN / A                                                       N/A                        0N/A                                                  N' A
           toN / A                                  torN /A                                                        NI A                                     Type ol Insurance                        'Term
           10N /A                                   torN /A                                                         N/A                       Premium $                      NI A
             toll/ A                                tor N/A                                                         N/A                      Ins, Co. Name & Address N./ A.
         Total Other Charges and Amounts Paid to Others on Your Behalf                                       $     cnvi 5:15          (4)    N/A
 5 Loan Processing Fee Paid to Seller (Prepaid Finance Chargel                                                                 N /A   (5)    N/A                 Atia.
 6 Amount Financed (3 plus 41                                                                                $     7dv, 7 ?           (6)     • '41:',                                              wren
                                                                                                                                                            Type of Insurance

OPTION: 0 You pay no finance charge if the Amount Financed, item 6, is paid in full on or before                                             Premium $
        N/A                    , Yedi /      SELLER'S INITIALS        !4,/,^.                                                                Ins. Co. Name & Address :4/.A
                                                                                                                                             NIA
OPTIONAL GAP CONTRACT. A gap contract (debt cancellation contract) is not required to obtam credit and will not be provided                  ,., IA
unless you sign below and agree to pay the extra charge. If you choose to buy a gap contract, the charge is shown in Item 4D ol the
Itemization of Amount Financed. See your gap contract for details on the terms and conditions it provides. it is a part of this contract.    b     kt / A
                                                                                                                                                       "    Type ot insurance
                                                                                                                                                                                               -......4-:-.1..
                                                                                                                                                                                                   "; Term

Term 7 .5                                           Mos.             1MA GAD                                                                 Premium $
                                                                                         Name ol Gap Con                                     Ins Co, Name & Address :-1,/,A,
                                        _                                                                                                    hi / A             .
                                                                                                                                             ,
        . to buy a ga?       nV      /14...6/...)
           IN
                                                                                                                                               /.4.
Buyer Signs9S/....„                                                           C'
                                                                                                                                                   ''' .• Type-of Insurance                       '"Term
           s-
  • VENDOR'S SINGLE INTEREST INSURANCE (VSI insurance): If the preceding box is checked, the Creditor                                        Premium $
                                                                                                                                                                         11/ fl
 requires VSI insurance for the initial term of the contract to protect the Creditor for loss or damage to the vehicle                       Ins. Co. Name & Address            N,IA
 i—olision, fire, theft). VSI insurance is for the Creditor's sole protection. This insurance does not protect your
      est in the vehicle. You may choose the insurance company through which the VSI insurance Is                                           Nil'.
 outained. If you clect to purchase VSI insurance through the Creditor, the cost of this insurance is                                       Mi.^.
 $               '         and is also shown in Item 48 of the Itemization of Amount Financed. The coverage is for                           Other optional insurance is not required to obtain credit. Your
 the initial term of the contract.                                                                                                           decision to buy or not buy other optional insurance will not be
                                                                                                                                             a factor in the credit approval process. It will not be provided
 You authorize us to purchase Vendor's or Lender's Single Interest Insurance.                                                                unless you sign and agree to pay the extra cost.
                                                                                                                                             I want the insurance checked above.
Buyer Signs X                N/A                      Co-Buyer Signs X          "I : A                        D.a.lfrf.                      XN/o                                             \," A
                                                                                                                                             Buyer Signature                                                 Date
                         Trade-In Vehicle                                                  Trade-In Vehicle
                                                                                                                                             XN/A                                          N A
                                                                                                                                             Co-Buyer Signature                                              Dale
YearN / A                Make fq / A                                  YearN /A               Make .L&
MA/A                                                                  ModeN/ A                                                                 LIABILITY INSURANCE COVERAGE FOR
VIN Pi / A                                                            1/14 N/A                                                                 BODILY INJURY AND PROPERTY DAMAGE
Gross Trade.in Allowane $ N/A                                         Gross Trade-In Allowance $                                               CAUSED TO OTHERS IS NOT INCLUDED IN
                                                                                                                                               THIS CONTRACT.       -
Payoff Made by Seer $   N/A                                    (a)    Payoff Made by Seller $      N/A                                (e)
LIenholdeff / A                                                       UenhddeN/ A                                                           Returned Payment Charge: If any check or other payment instrument
                                                                                                                                            you give us is dishonored or any electronic payment you make is returned
You assign to Seller allot your rights, title and interest in such trade-In vehicle(s). Except as expressly stated to Seller
                                                                                                                                            unpaid, you wiilpay a charged $25 if the payment amountis$50 or less:
In writing, you represent that your trade-In vehicle(s) has not been Involved in an accident, has not had any major body
damage or required any major engine repair, and was not previously used as a taxicab, police vehicle, short term rental                     $30 if the payment amount is over $50 but not more than $300; $40 if the
or is a vehlcle that is rebuilt or assembled from parts, a kit car, a replica, a flood vehicle, or a manufacturer buy back.                 payment amount is over $300; or such amount as perrratkerl by law.
                                                                                                                                                                                        -
Buyer Initlatil ' A                Co-Buyer initials N / A                                                                                  Florida documentary stamp lax required by law In the amount
Trade-In Payoff Agreement: Seller relied on information from you and/or the lienholder or lessor of your trade-in vehicle to arrive         of $           `'; : .1111       has been paid or will be paid
at the trade-in payoff amount shown above and in Item 201 the Itemization of Amount Financed as the Pay Off Made by Seiler.                 directly to the Department of Revenue.
You understand that the amount quoted is an estimate.
Seller aarees to nay the payoff amount shown above and in Item 2 to the lienholder or lessor of the trade-in vehicle, or its desianee.      Certificate of Registration !pi .--,,1,-1,-u, • -
          Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page       15
                                                                  UNPR1Ut YOU       ofa wow
                                                                              mil }lay  60 utPageID           20
                                                                                             4D II ule paiiitem i11114.1U111 IS OU lli $0.
In writing, you represent that your trade-In vehicle(s) has not been Involved in an accident, has not had any major body
damage or required any major engine repair, and was not previously used as a taxicab, police vehicle, short term rental                    $30 if the payment amount is over $50 but not more than $300; $40 if the
or is a vehicle that is rebuilt or assembled from parts, a kit car, a replica, a flood vehicle, of a manufacturer buy back.                payment amount is over $300; or such amount as permitted by law.
                                                                                                                                       1
Buyer Mina, A                 Co-Buyer Initials N /A                                                                                       Florida documentary stamp tax required by law in the amount
Trade-In Payoff Agreement: Seller relied on information from you and/or the Penholder or lessor of your trade-in vehicle to arrive         of $           5.) , NI              has been paid or will be paid
at the trade-in payoff amount shown above and in Item 2 of the Itemization of Amount Financed as the Pay Off Made by Seller.               directly to the Department of Revenue.
You understand that the amount quoted is an estimate.
Seller agrees to pay the payoff amount shown above and In Item 2(0 the Penholder or lessor of the trade-in vehicle, or its designee.       Certificate of Registration f;J_E z-, c .,-‘
                                                                                                                                                                                     _, 34.-.; s (23..,
If the actual payoff amount is more than the amount shown above and in Item 2 you must pay the Seller the excess on demand.
If the actual payoff amount is less than the amount shown above and in Item 2 Seller will refund to you any overage Seller receives        You assign all manufacturer rebates and cash back
from your prior Penholder or lessor. Except as slated in the NOTICE' on the back of this contract, any assignee of this contract           incentives used as a downpayment on this contract to
will not be obligated to pay the Pay Off Made by Seller shown above and in Item 2 or any refund.                                           seller. You agree to complete all documents required for
Buyer Signature X 1A                                           Co-Buyer Signature x N / A                                                  assignment of rebates and incentives.

Agreement to Arbitrate: By signing below, you agree that, pursuant to the Arbitration Provision on the reverse side o ,I is contract, you or we may elect to resolve
any dispute iv.9       ra nding afbitr on and not by a court action. See the Arbitration Provision foria 4 a, iI'n ._...........
                                                                                                                     1 •               1 I ... cerning the agreement to arbitrate.
                                                                                                                                           ..

Buyer SigrA_                                                                                         Co-Buyer Sigr_f0•—•:...._1:1V:-.360, AP'
          ,
1/4._.)LER'S RIGHTTO CANCEL - If Buyer and Co-buyer sign here, the provisions of the Seller's Right to Cancel section on the back, which gives
the Seller the right to cancel if Seller is unable to assign this contract withhtn                                                                 days, will apply. If you fall to return the
vehicle within 48 hours after receipt of the notice of cancellation, you agree     ay Seller                                                      of $ N/A                       per day from
Ahete cancellati n until the vehicle is returned or repossessed. _,...,,
x
- •er Signs                                                           - " CO-

                                           NO COOLING OFF PERIOD
 State law does not provide for a "cooling off" or cancellation period for this sale. After you sign this contract,
 you may only cancel it if the seller agrees or for legal cause. You cannot cancel this contract simply because
 you change your mind. This notice does not apply to home solicitation sales.

 The Annual Percentage Rate may be negotiable with the Seller. The Seller may assign this contract
 and retain its right to receive a part of the Finance Charge.
                                                                                       :-.
 HOW THIS CONTRACT CAN BE CHANGED. This contract contains the, entir .9 : rrnt between you                    us relating to this contract. Any ch.!e
                                                                                                                                                   illt     cont 41 b • in writing and we
 must sign ii No oral changes are binding.                    Buyer Signs   -1 • 14431
                                                                                   —                                       Co-Buyer Signs'16,71.,-.•                    -
 If any part of this contract is not valid, all other parts stay valid. We may • • . or refrain from enforcing any of our rights under this contra-if without ,s g em or e ample, we
 may extend the time for making some payments without extending the time for making others.
 See back for other important agreements.
 NOTICE TO THE BUYER: a) Do not sign this contract before you read it or if it contains any blank spaces. b) You are
 entitled to an exact copy of the contract you sign. Keep it to protect your legal rights.
 You agree to the terms of this contract. You confirm that before you signed this contract, we gave it to you d you were free to take it
 and review it. You acknowledge that you have read both sides of this contract, including t e arbitra '      %Ifs n on the reverse side,
 before signing lo i.p.0 confirm tlyt you received a completely filled-in copy when you - ig - , it.
Buyer sign4Qiitr:WA)                                                         Date /7-D / 1g            Co-Buyer SignrX ....1
                                                                                                                                             r                                          DOj,
                                                                                                                     411II
 Co-Buyers an7 Other Owners — A co-buyer is a person who Is respons ble for paying the entire debt. An other owner s a person whose name is on the title to the vehicle but
 does not have to pay the debt. The other owner agrees to the security interest in the vehicle given to us in this contract.
                                                                                                                      3800  W Fa'  I c-PrdROUGH AVE
Other owner signs here X                                                                               Address        T mr-i A ........... r ..._.._                                           A
seer sidalIRTF       r; Y HYI INN r                                          Dale .r -) ? , 1 ,.7.     By X                                         "                                       '4
                                                                                                                                                                                       Tit%it
                                                                                                                                                                                         ,
___.;er assigns its interest in this contractta. L y F I NAN C IAL                                                            —(Acaireeycrrrifirthe terms of Seller's agreement(s) with Assignee.
     • Assigned with recourse                                                  X . • Assigned without recourse                                                   0 Assigned with limited recourse
 JPTES e HYUNDAI
 Seller                                                                              By                 —,--1*
                                                                                                            _Z                                       Title
             FORM NO. 553.FL-ARB ,REV 5 'A to S PATEN! t.O co 702
             C 2014 The Reynolds and Reynolds Company TO ORDER MTh teysowte ws 1400-3444996 1M 1-500 531-9055
             ME PRUNER MAKES NO WARRANT: EXPRESS OR IMPUEO *5 10 CONTENT OR
             FITNESS POR PURPOSE OF THIS FORK CONSULT YOUR OWN LEGAL COUNSEL                                                   ORIGINAL LIENHOLDER
Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 16 of 60 PageID 21




         EXHIBIT B
       Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 17 of 60 PageID 22



ally
P.O. Box 8100
Hunt Valley, MD 21030
                                                                          February 20,2018

        Kristen L Emrich

                   , FL 33579-7758



                                                                          Account               b 520
                                                                          Contract Date: 07/23/2016
                                                                          VIN:                    6353
                                                                          Vehicle: 2015, Ilyun, Elantra
                                                                          Date Amount Financed Paid: 02/19/2018

Dear Kristen L Emrich:

Congratulations on paying off your auto financing! And on behalf of the entire Ally team, thank you. II was our
privilege to serve your auto financing needs.

Now is a great time to put your money to work for you. Our high standard of service goes beyond auto financing
Whether you'd like to invest in a high-yield CD or open an interest checking account, we at All arc here to help.
Learn more at allv.com.

We appreciate your business and hope you consider us when financing your next vehicle.

Sincerely,
Ally Financial


Contact Information: You can reach us by visiting ally.com/auto or call 888-925-ALLY (2559).




SMM009 PIF              520                                                                                   001.037364939
MAIL



                                                                      111111111111 111111111111111111111111111111111111111111
Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 18 of 60 PageID 23




         EXHIBIT C
                                                                                                                                                wuesuonsy
         Case 8:19-cv-00320-JSM-CPT                                         Document 1-1                     Visit allyauto.com
                                                                                                        Filed 02/06/19 Page 19 of 60 PageID
                                                                                                                                or call 888-925-ALLY(2559)                 24
 I   .øIIy®                                                                                               Statement reflects payment(s) received through:
                                                                                                                                                                  02/12/18

          Account Summary
         Next Payment:                                          Past Due Payments                                       Other Unpaid Amounts:
         Due Date:                               03/06/18        Due Date                            Amount Due         Late Charge:
         Amount Due:                             $288.11                                                                Extension Fee:
                                                                                                                        Insurance Premium:
                                                                                                                        Miscellaneous:

         Total:                                  $288.11         Total:                                                 Total:

         STATEMENT TOTAL: $288.11
          Last Paid      Unpaid Balance Finance Charge               Late Charge Other Charge                Total Paid            Due Date       Scheduled Payment
          01/23/18          1,043.10         -5.75                                                           -1,048.85


                                                                                                      Important Account Message
                                                                                                     -             a : if'   kit a'    • 41 111 3 I tris •
         Account Number:                                                                            FINANCE CHARGES AND OTHER UNPAID AMOUNTS. PLEASE CALL US FOR
         Make: 15 HYUN ELANTRA                                                                      YOUR PAYOFF.
         VIN: 5             6353




                                                                                                    Your savings could be earning more. With an Ally Bank Online Savings
                                                                                                    Account, you'll benefit from an interest rate that's among the most competitive
                                                                                                    In the country. Plus, there's no minimum balance to open and no monthly
                                                                                                    maintenance fees. To learn more, visit www.alty.com. Ally Bank, Member FDIC.




           Don't Want to Mail Your Payment? We have Options:
                  Automatic Payments -Allows your payment to be conveniently transferred from your checking or savings account to Ally, at no cost to you. Please visit allyauto.com
                  for more information.
                  Online Payments and Billing Statements - Register for Ally Online Services at allyauto.com, add your account, then schedule one-time payments at your convenience
                  or go green with e-statements. at no cost to you.
                  Payments by phone or payments online by debit cards -To hear available options call 888-925-2559. A third party service provider fee may apply.
     I    g



                         Contact Information: You can reach us by visiting allyauto.com or call us at 888-925-ALLY(2559)
*--""061-1"6627 -      —,     Do nOrgteltraastrtilpoaRtateirclietki-All check-s will brpio
                                                                                         -Zeiiedriipon ri3ceipt. Make checks payable to A-
                                                                                                                                         L1-. -
^
                                     Return the portion below with your payment to the Payment Processing Center address below,                                           my eii.uNc Roo. 12,17


                                                                                            DUE DATE: 03/06/18


 oily®                                                                                      ACCOUNT NUMBER:
                                                                                            STATEMENT TOTAL:
                                                                                                                                                                    5520
                                                                                                                                                                $288.11

                                                                                             TOTAL AMOUNT PAID:
               PO BOX 380902
               BLOOMINGTON MN 65438-0902

                                                                                                       PAYMENT PROCESSING CENTER
                                                                                                       PO BOX 78234
               SCOTT A EMRICH                                                                          PHOENIX AZ 85062-8234

                            FL 33610-5505
                                                                                                        11 II I        hi! II111                  II I I11 I I illislm
               uld.P1    11101 91111114.n1111h1111114111.111111.1A.4


                                                                                                             5520 1 00028811 8 7 0
Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 20 of 60 PageID 25




         EXHIBIT El
      Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 21 of 60 PageID 26



ally
  3.0. BOX 380902
                                                                                                                    emININ.nonom

'BLOOMINGTON MN 55438-0902

                                                                              April 19, 2018                       MEI=
           KRISTEN L EMRICH                                                   PHONE: 1-866-443-3112
                                                                                                                    ESISIM!M

                             FL 33579-7758

11111.1111.111.1.11.119"1.111.111,111,11.911111.111-111111111

                                                                Re: Account Number MIIIII5520


          Dear KRISTEN L EMRICH,

          May 1. 2018 is the LAST DAY FOR PAYMENT.

          $353.22 is the AMOUNT NOW DUE.

          You are late in making your payment(s). If you pay the AMOUNT NOW DUE (above) by the
          LAST DAY FOR PAYMENT (above), you may continue with your contract. If you do not pay by
          this date, we may exercise our rights under the law.

         If you pay and are late again in making your payments, we may exercise our rights without
         sending you another notice like this one even though we may have accepted late payments
         from you in the past.

         Remember that another payment of $288.11 becomes due on May 6, 2018. That amount is
         not included in the AMOUNT NOW DUE shown above.

         We may have alternatives to help resolve your situation. If there is a misunderstanding
         regarding the amount that you owe us or some other special problem, a simple phone call may
         be all that is needed.

         If you have any questions, please contact us at the number below Monday through Friday from
         8:00 AM to 6:00 PM ET.

         Sincerely,
         Ally Financial
         1-866-443-3112




TRD


GCURE 01 (Rev 101114)                                                                                 0-clASdAA-11777S
Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 22 of 60 PageID 27




         EXHIBIT E
    Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 23 of 60 PageID 28




aR      k    Craig E. Rothburd                      PA
                                                                                Sender's E-mail: crothburdPe-rlaw.corn




                                                         June 14, 2018



        VIA US MAIL - REGULAR &
        CERTIFIED MAIL: 7011 3500 0001 2010 7376
        - Return Receipt Requested
        Ally Bank
        PO Box 380901
        Bloomington, Minnesota 55438


                  Re:      Disputed Items on Credit Report for the following individual:
                           Name:               Kristen L. Emrich
                           Loan Number:                  5520
                           Vehicle:            2015 Hyundai Elantra
                           VIN:                                   6353
                           Mailing Address:                                         , Florida 33579
                           CERPA File No.      6667

        Dear Sir or Madame:

               This letter is to advise you that my firm, together with the Consumer Law Rights Law
        Group, has been retained by Kristen L. Emrich in connection with the above referenced account.
        Please direct all further communications and/or correspondence to my attention at the below
        address and do not contact my Ms. Emrich directly.

               Accordingly, this letter shall serve as formal notice pursuant to the Florida's Credit
        Collection Practices Act, Chapter 559, Florida Statutes ("FCCPA") that Ms. Emrich does not
        wish to directly receive any further phone calls or other correspondence from Ally Bank or any
        other debt collector in connection with the above-referenced account. All future inquiries and
        correspondence are to be directed to my attention at the address and phone number listed below.
        DO NOT CONTACT Ms. Emrich.

                It is my understanding that Ms. Emrich previously put Ally Bank on notice that the above
        referenced account had in fact been paid in full as of February 19, 2018. Despite Ally Bank's
        actual notice that the account was paid in full, Ally Bank has failed to take corrective action and
        has continued to attempt to collect amounts on this account.



    F 811251.8800
    ; 811251.5042



320W KENNEDY BLVD . SUITE 700. TAMPA FLORIDA 3306                             www craigerothburdpatorn •
Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 24 of 60 PageID 29

                                                                           Ally Bank Letter
                                                                        - Kristen L Emrich
                                                            - Loan Number: NOMMI5520
                                                                                     Page 2




        As evidence that the above referenced account was paid in full, enclosed is a copy of
 correspondence from Ally Bank confirming the account was paid in full on February 19, 2018,
 together with a copy of the Retail Installment Sale Contract stamped Paid in Full by Ally Bank
 and delivered back to Ms. Emrich. The vehicle that was the subject of the above referenced
 account was involved in a motor vehicle accident and determined to be a total loss. Between Ms.
 Emrich's insurance company and the GAP insurance policy on the vehicle, the entire remaining
 balance due Ally Bank on the above referenced account was paid in its entirety. Therefore, no
 balance remains owed and this account was never past due.

        Your prompt attention to this matter is required. Please govern yourself accordingly.

                                                    Sincerely



                                                    Craig E. Rothburd, Esquire

 CER/mIr
 ENCLOSURES (as stated)

 cc:    Client
        James S. Giardina
      Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 25 of 60 PageID 30



ally
P.O. Box 8100
Hunt Valley, MD 21030
                                                                          February 20. 2018

        Kristen L Emrich

                    , FL 33579-7758



                                                                         Account #: M=1.5520
                                                                         Contract Date: 07/23/2016
                                                                                                  6353
                                                                         Vehicle: 2015. Ilyun. Elantra
                                                                         Date Amount Financed Paid: 02/19/2018

Dear Kristen L Emrich:

Congratulations on paying off your auto financing! And on behalf of the entire Ally team. thank you. It was our
privilege to serve your auto financing needs.

Now is a great time to put your money to work for you. Our high standard of service goes beyond auto financing.
Whether you'd like to invest in a high-yield CD or open an interest checking account. we at Ally arc here to help.
Learn more at ally.com,

We appreciate your business and hope you consider us when financing your next vehicle.

Sincerely,
Ally Financial


Contact Information: You can reach us by visiting ally.com/auto or call 888-925-ALLY (2559).




 Mm009 PIP                                                                                                 001.03M493q




                                                                      II 111111111111111 II 1111 1111111111111 11111111111
                  Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 26 of 60 PageID 31
                             RETAIL INSTALLMENT SALE CONTRACT - SIMPLE FINANCE CHARGE,-
                                                                                    F'A IC) IN FULL
                                            (WITH ARBITRATION PROVISION)                             r)
                                                    .
                                                      Dealer Number
                                                                                   'il  iTE:__ -La:( 3'
                                                                                                            r.nntrant Number
                                                                                                                                                                                              a
                                                                                                                 CONTV 037364939
Buyer, N, arpo and Adciress'r T.                                             Co-Buyer Name and Ack              R 001. 00001432369
                                 -           4                                                                                                                    /00108 BPULL
(                    N    h                                                    SCOTT Al..Ef4 E
                                 "                                             -I 30,_ ,YL.J'IN FiW'r                                                         PFOLD                                  6353
     i, ,,,                                                                    T ,t,miPIt F. 33-f_ ,

Buyers Birth Month:                              , -_, .:. : -:
                                                                                  11_ _ ;E'• 3R,Y.H;i1
                                                                             Co-Buyers Birth Month:
                                                                                                                          I I 1111111111111111111 I 11111111111 N11111111111          11111 I I
bu, the Buyer (and Co-Buyer, if any), may buy the vehicle below for cash or on credit. By signing mis                 yvu %.. ......-- .- __ , vehicle           contraut,
n credit under the agreements on the front and back of this contract. You agree to pay the Seller-Creditor (sometimes awe" or "us" in this
ontract) the Amount Financedand Finance Charge in U.S. funds according to the payment schedule below. We will figure your finance charge on a daily
asis at the Base Rate of      *. .,•1 ' % per year. The Truth-In-Lending Disclosures below are part of this contract.
•-ii haii thnrouohlv insoected. acceoted. and aoDroved the vehicle in all respects.
                                                   Make                   Weight
New/Used/Demo             Year                   and Model                (lbs.)                  Vehicle Identification Number                           Primary Use For Which Purchased
                                                                                                                                                          Personal, family, or household unless
                                                                                                                    - .       .                                otherwise indicated below
                                                           ,                                      .                                                 • business
                                                 -    ..          u
                                       -                                                                                                          _ 0 agricultural     0
You agree that we advised you whether, based on sellers knowledge, the vehicle was titled, registered, or used as a taxicab, police vehicle, short term rental or is
a vehicle that Is rebuilt or assembled from parts, a kit car, a replica, a flood vehicle, or a manufacturer buy back.


                          FEDERAL TRUTH-IN-LENDING DISCLOSURES                                                                                          Insurance. You may buy the physical damage insur-
                                                                                                                                                        ance this contract requires (see back) from anyone
   ANNUAL                   FINANCE       Amount       Total of                                                            Total Sale                   you choose who is acceptable to us. You are not
 PERCENTAGE                 CHARGE       Financed     Payments                                                               Price                      required to buy any other insurance to obtain credit
    RATE                     The dollar                           The amount of             The amount you            The total cost of
                                                                                                                                                        unless the box indicating Vendor's Single Interest
    The cost of              amount the                           credit provided          will have paid after      your purchase on
                                                                                                                                                        Insurance is required is checked below. Your choice of
   your credit as             credit will                            to you or             you have made all          credit, including
                                                                                                                                                        Insurance providers wit not affect our decision to sell
   a yearly rate,             cost you.                           on your behalf               payments as               your down
                                                                                                                                                        you the vehicle or extend credit to you.
                                                                                                scheduled.              payment of
                                                                                                                                                             If any insurance is checked below, policies or
                                         .              .                                                       .   S     , -           is              certficales from the named insurance companies will
                                                                                   -                  i                         .
                      -        $                                      -                       $           • -        $            - --- -:              describe the terms and conditions.
         - % $
Your Payment Schedule Will Be:                                                                                  (e means an estimate                          Check the insurance you want and sign below:
    Number of                  Amount of                                  When Payments                                                                              Optional Credit Insurance
I al Payments                  Payments                                       Are Due                                                                 0 Cred t Life 0 Buyer 0 Co•Buyer 0 Both
  •                                                            Monthly beginning                                                                       Term
                                                                                                                                                      El Credit asability 0 Buyer 0 Co-Buyer 0 Both
                                .    .                                                                                                                 Term
                                                                                          '
                                                                                                                                                       Premium:
                                .    .                                                                                                                                                    I
  Or As Follows:                                                                                                                                              Credit Life S
                                                                                                                                                                                                      •
                                                                                                                                                              Credit Disability S
                                                                                                                                                       Insurance Company Name t
  Late Charge. If payment is not received in full within                      10       days after it is due, you will pay a late charge                  I.
  of     5     "/. of each installment.                                                                                                                HOME Office Address i

  Prepayment. If yau pay off all your debt early, you may have to pay a penalty.
                                                                                                                                                        !,
                                                                                                                                                       Credit life insurance and credit disability insurance are not
  Security Interest. You are giving a security interest in the vehicle being purchased.
                                                                                                                                                       required to obtain credit Your decision la buy or not to buy
  Additional Information: See this contract for more information including information about nonpayment,                                               credit life insurance and credit disabifity insurance will not be a
                                                                                                                                                       factor in the credit approval process They will not be provided
  default, prepayment penalties, any required repayment in full before the scheduled date and security interest.                                       unless you sign and agree to pay the extra cost. If you choose
                                                                                                                                                       this insurance, the cost is shown in Item 4A of the Itemization
                                                                                                                                                       of Amount Financed Credit life insurance is based on your
 ITEMIZATION OF AMOUNT FINANCED                                                                                                                        original payment schedule. This insurance may not pay all you
 1 Cash Pfice (including S                                  sales lax)                                                                      (1)        owe on this contract if you make late payments. Credit disability
                                                                                                                                                       insurance does not cover any increase in your payment or in
 2 Total Downpayment =                                                                                                                                 the number of payments
          Gross Trade-In Allowance                                                                                                                     It the box above is checked to Indicate that you want credit life
          Less Pay Off Made By Seller (e)                                                                                                              insurance, please read and sign thelollowing acknowledgments
                                                                                                                                                       I. You understand that you have the option of assigning any
          Equals Net Trade In                                                                                                                          other policy or policies you own or may procure tor the purpose
          + Cash                                                                                                                                       of covering this extension ol credit and that the poky need not
                                                                                                                                                       be purchased from us in order to obtain the extension of credit
          + Other
          (If total downpayment is negative, enter "0" and see 4J below)                                                                    (2)        X , •
                                                                                                                                                       Buyer                                                   Date
 3 Unpaid Balance of Cash Price (1 minus 2)                                                                                                 (3)
    Other Charges Including Amounts Paid to Others on Your Behalf                                                                                                   •
                                                                                                                                                       Co-Buyer                                                 Date
    %Seller may keep pad of these amounts):                                                                                                            2. You understand that the credit life coverage may be
    A Cost of Optional Credit Insurance Paid to Insurance                                                                                              deferred it, at the time of application, you are unable to engage
                                                                                                                                                       in employment or unable to perform normal activities of a
       Company or Companies.                                                                                                                           person of like age and sex. (You need not sign this acknowl-
       Life                                                                                                                                            edgement if the proposed credit life insurance policy does not
                                                                                                                                                       contain this restriction.)
       Disability
    B Vendor's Single Interest Insurance Paid to Insurance Company                                                                                     X
              -   •   .          _ I •                                                                                                                 Ri tvpr                                                 Date
           Life
                         Case 8:19-cv-00320-JSM-CPT
                                               S
                                                    Document
                                                     N/ A
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                                                                              personPage
                                                                                    or tine age27    of (You
                                                                                               aria sex. 60need
                                                                                                             PageID
                                                                                                                not sign tnis32
                                                                                                                             acknowl-
                                                                                                                                                      edgement if the proposed credit life inmance policy does not
           Disability                                                                                NI A                                             contain this restriction.)

       8 Vendors Singe Interest Insurance Pad to Insurance Company                                                            NIa
       C Other Opronal Insurance Paid to Insurance Company or Companies                                                                               Buyer •                                                                 Date

       D Optional Gap Contract                                                                                           qcol nn                                                                     , •
       E Official Fees Paid to Government Agencies                                                                            N/A                     Co-Buyer                                              Date
                                                                                                                                                      3. You understand that the benefits under the policy will ter-
       F Government Documentary Stamp Taxes                                                                                                           minate when you reach a certa:n age and affirm that your age
       G Government Taxes Not Included in Cash Price                                                                              I                   is accurately represented on the app ication or policy.

       H Government License andfor Registration Fees                                                                                                  X vii e.
                                        L ceflsc                                     C                                                                Buyer                                                   . ' t Date
  t;
no         Government Certificate of Title Fees                                                                                                       X (•:, /A                                               '
       J Other Charges (Seller must identify who is paid and                                                                                          Co-Buyer                                                                Date
           describe urpose)                                                                                                                                            Other Optional Insurance
                to                                           for Prior Credit or Lease Balance (e)                                                    0 '. - 1                                                     .      •
                     F                                       for *. —                                                                                                  Type of Insurance                               • Term

             toi4 /.4                                        for                                                                                      Premium S
                                                             for k A                                                                                  Ins. Co. Name & Address                r.'r • .4
                     C
             to ,        a       INC                         kuNAINT PLAN                                                                                I 11
             tohl/A                                          for ‘• A                                                                                    11 i A
             toN                                             for% . A                                                                                 0           tA                                                   . ,.
                                                             for%                                                                                                      Type of Insurance                                Term

             tO                                              for        A                                                                             Premium S
                to                                           for                                                                                      Ins. Co. Name & Address
           Total Other Charon and Amounts Paid to Others on Your Behalf                                                                   =    (4)    ('ii *1
 5 Loan Processing Fee Paid to Seller (Prepaid Finance Charge)                                                                        !   Ii   (5)                               n1 e.
 6     Amount Financed (3 plus 4)
                                                                                                                                                                       Type of Insurance
                                                                                                                                                                                                                  "
                                                                                                                                                                                                                  ' Term

OPTION: El You pay no finance charge if the Amount Financed, item 6, is paid in full on or before                                                     Premium S                       r. •.
                                                         , Year               SELLER'S INITIALS                                                       Ins. Co. Name & Address            •,

OPTIONAL GAP CONTRACT. A gap contract (debt cancellation contract) is not required to obtain credit and will not be provided                          ,
unless you sign below and agree to pay the extra charge. It you choose to buy a gap contract, the charge is shown in Item 40 of the                   (±)
Itemization of Amount Financed. See your gap contract for details on the terms and conditions it provides. It is a part of this contract.
                                                                                                                                                             '         Type of Insurance                          ' Term

Term                                                        Mos.                                                                                      Premium S             , '
                                                                                                     Name of Gap Contr                                Ins. Co. Name & Address t,                 •
                                                     _                                                                                               r
           to buy a gap           ntr
                                                                                                                                                     ... .

Buyer Signs1(_,,,                            __IL/                                       -1-                                                          El '        •
         .. ,                                                                                                                                                          Type of Insurance                               Term
                s


 0 VENDOR'S SINGLE INTEREST INSURANCE (VSI insurance): If the preceding box is checked, the Creditor                                                  Premium S                   .      .
 requires VSI insurance for the initial term of the contract to protect the Creditor for loss or damage to the vehicle                                Ins. Co. Name & Address                %       •
 1-^Ilision, fire, theft). VSI insurance is for the Creditor's sole protection. This insurance does not protect your                                 1
      ast in the vehicle. You may choose the Insurance company through which the VSI Insurance is
 outained. If you elect to purchase VSI insurance through the Creditor, the cost of this insurance is
 $                          and is also shown in Item 46 of the Itemization of Amount Financed. The coverage is for                                   Other optional insurance is not required to obtain credit Your
 the initial term of the contract.                                                                                                                    decision to buy or not buy other opfronal insurance will not be
                                                                                                                                                      a factor in the credit approval process, II veil not be provided
 You authorize us to purchase Vendor's or Lender's Single Interest Insurance.                                                                         unless you sign and agree to pay the extra cost
                                                                                                                                                      I want the insurance checked above
                                  •      .
 Buyer Signs X                     '                           Co-Buyer Signs X                                          Dale •                       X'.
                                                                                                                                                      Buyer Signature                                                     Date
                                 Trade-In Vehicle                                                      Trade-In Vehicle                                                                                  .
                                                                                                                                                      X . 4                                                   -        _
                                               4
                                         4
                                                                                                                                                      Co-Buyer Signature                                               Date
Year.       '                    Make •                                           Year ' .   .          Make '
       1    '
Model                                                                             Model ,1                                                                LIABILITY INSURANCE COVERAGE FOR
       .., ..
VIN                                                                               VIN! ' a                                                                BODILY INJURY AND PROPERTY DAMAGE
Gross Trade-In Allowance S N,                                                     Gross Trade-In Allowance $   "
                                                                                                                                                          CAUSED TO OTHERS IS NOT INCLUDED IN
                                                                                                                                                          THIS CONTRACT.
Payoff Made by Seiler S                                                     (e)   Payoff Made by Seller S      '   I                           (a)
Lienholdell 1
            *                                                                     Lienhodet      '                                                   Returned Payment Charge: If any check or other payment instrument
                                                                                                                                                     you give us is &honed or any electronic payment you make is returned
You assign to Seller all of your rights, title and interest in such trade-in vehicle(s). Except as expressly slated to Seller
                                                                                                                                                     unpati you will pay a charge of S25 tithe paymerl amount is S50or ess
In writing, you represent that your trade-In vehicle(s) has not been involved in an accident, has not had any major body
damage or required any major engine repair, and was not previously used as a taxicab, police vehicle, short term rental
                                                                                                                                                     $30 if the payment amount is over 650 but not more than $300: 9 0 II the
or is a vehicle that Is rebuilt or assembled from parts, a kit car, a replica, a flood vehicle, or a manufacturer buy back.                          payment amount is over $300 or such amount as permittedby law.

Buyer Initial;               •               Co-Buyer Initials`I    '                                                                                Florida documentary stamp tax required by law in the amount
                                                                                                                                                     of $                ..                    has been paid or will be paid
Trade-In Payoff Agreement: Seller relied on informat on from you and/or the lienholder or lessor of your trade-in vehicle to arrive
at the trade-in payoff amount shown above and in Item 2 of the Itemization of Amount Financed as the Pay Ott Made by Seller.                         directly to the Department of Revenue
You understand that the amount quoted is an estimate.
                                                                                                                                                     Certificate of Registration No.                         - - ., ... ,
Setter aorees to nay the oavoff amount shown above and in Item 2 to the lienholder or lessor of the trade-in vehicle. Of iv desionee.
          Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page
                                                                  two% p.m 28
                                                                           nix wayof   60 PageID
                                                                                   CI uktipul                33
                                                                                              440110 c implimp grow 11120vul Alt4
 In writing, you represent that your trade-in vehicle(s) has not been involved in an accident, has not had any major body
 damage or required any major engine repair, and was not previously used as a taxicab, police vehicle, short term rental                         $30 if the payment amount is over S5Ohul not more than $300, $4011 thi
 or is a vehicle that is rebuilt or assembled from parts, a kit car, a replica, a flood vehicle, or a manufacturer buy back.                   1 payment amount is over MO; or such amount as permitted by law.
 Buyer Initial;, 4               Co-Buyer Initials'                                                                                                Florida documentary stamp tax required by law in the amoun
 Trade-In Payoff Agreement: Seller relied on information from you a ndlor the lienholder or lessor of your trade-in vehicle to arrive              of $; :     _. 1  . .-         has been paid or will be pair
 at the trade•in payoff amount shown above and in Item 2 of the kemization of Amount Financed as the Pay Off Made by Seller.                       directly to the Department of Revenue.
 You understand that be amount quoted is an estimate.
 Seller agrees to pay the payoff amount shown above and in tern 2 to the lienholder or lessor of the trade-in vehicle, or its designee.            Certificate of Registration ,t,?..    ••- -
                                                                                                                                                                                                            •
 If the actual payoff amount is more than the amount shown above and in Item 2 you must pay the Seller the excess on demand.
 If the actual payoff amount Is less than the amount shown above and in Item 2 Seller will refund to you any overage Seller receives               You assign all manufacturer rebates and cash back
 from your prior fienholder or lessor Except as slated in the 'NOTICE' on the back of this contract, any assignee of this contract                 incentives used as a downpayment on this contract to
 will not be obligated to pay the Pay Off Made by Seller shown above and in Item 2 or any refund.                                                  seller. You agree to complete all documents required for
 Buyer Signature X '                                              Co•Buyer Signature X               •                                             assignment of rebates and incentives.

 Agreement to Arbitrate: By signing below, you agree that, pursuant to the Arbitration Provision on the reverse side o s contract, you or we may elect to resolve
  ny dispute by ne               'nding arbit tion and not by a court action. See the Arbitration Provision fora •                            na          -471**cerning the agreement to arbitrate.
a
L
 Buyer Signs                                                                            Co-Buyer SignIX
            .. ,.
 ._)LER'S RIGHTTO CANCEL - If Buyer and Co-buyer sign here, the provisions of the Seller's Right to Cancel section on the back, which gives
 the Seller the right to cancel If Seller is unable to assign this contract within •                days, will apply. If you fail to return the
 vehicle within 48 hours after receipt of the notice of cancellation, you agree                   of S `‘.! !                    per day from
 the ..te • cancellatign until the vehicle is returned or repossessed. ....
 .1(      -
       .er Signs

                                            NO COOLING OFF PERIOD
  State law does not provide for a "cooling off" or cancellation period for this sale. After you sign this contract,
  you may only cancel it if the seller agrees or for legal cause. You cannot cancel this contract simply because
  you change your mind.This notice does not apply to home solicitation sales.

  The Annual Percentage Rate may be negotiable with the Seller. The Seller may assign this contract
  and retain its right to receive a part of the Finance Charge.
  HOW THIS CONTRACT CAN BE CHANGED. This contract contains the enti • 7 r,. t between you a us relating to this contract. Any cha                                                                   in writing and we
  must sign it. No oral changes are binding.                  Buyer Signs."                                                Co-Buyer Signs4
  If any part of this contract is not valid, all other parts stay valid. We may le . or refrain from enforcing any of our rights under this contrac wit out                                         or e ample, we
  may extend the time for making some payments without extending the time for making others.
  See back for other important agreements.
  NOTICE TO THE BUYER: a) Do not sign this contract before you read it or if it contains any blank spaces. b) You are
  entitled to an exact copy of the contract you sign. Keep it to protect your legal rights.
  You agree to the terms of this contract. You confirm that before you signed this contract, we gave it to you d you were free to take it
  and review it. You acknowledge that you have read both sides of this contract, including t e arbitrat'      viskm on the reverse side,
  before signing b lo Y u confirm th t you received a completely filled-in copy when you g e it.
 Buyer Signs XikrA                42.4                                   Date '                  Co-Buyer Signsl#                                           Date -
  Co-Buyers an Other Owners — A co-buyer is a person who is responsible for paying the entire debt. An other owner is a person whose name is on the title to the vehicle but
  does not have to pay the debt. The other owner agrees to the security interest in the vehicle given to us i this contract.

 Other owner signs here X                                                                                                 Address      _
 Seller Signs . — ; r            -         -                                    Dale' 1,                                  By X                                                               Titl

____:.ar assigns its interest h this contractdo                         S.                                                                               er the terms of Seller's agreement(s) with Assignee
       0 Assigned with recourse                                                     :D Assigned without recourse                                                        L Assigned with limited recourse
                      !      T

 Seller                                                                                   By             -.110111•1                                          Title                      ez
141
 _11_111. FORM NO. 553-FL-ARB             .ri            DIto.-ea
                2014 The Reynolds and Reinolds Company 10 Cti-.)E?                  cor. r,..1.2z:                    t 37) .3,3,235
              THE PRINTER HANES NO WARRANTY. EXPRESS OR IMPLIED. AS TO CONTENT OR
              FITNESS FOR PURPOSE Or THIS FORM. CONSULT YOUR LWMI LEO AL COUNSEL                                                           ORIGINAL LIENHOLDER
Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 29 of 60 PageID 34




          EXHIBIT F
     •
 •            •


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CR                Craig E. Rothburd PA
                                                                                   Sender's E-mail: crothburdRe-rlaw.com




                                                        May 24, 2018


            VIA US MAIL - REGULAR &
            CERTIFIED MAIL: 7011 3500 0001 2010 7406
            - Return Receipt Requested
            Equifax Information Services, LLC
            P.O. Box 740256
            Atlanta, GA 30374-0256


                     Re:   Disputed Items on Credit Report for the following individual:
                           Name:               Kristen L. Emrich
                           Social Security #: IME12462
                           Date of Birth:     1=1987
                           Mailing Address:                                       , Florida 33579
                           CERPA File No.      6667

            Dear Sir or Madam:

                   This letter is to put Equifax Information Services, LLC, on notice that our firm has been
            retained by the above named individual in connection with a certain dispute she has with the
            information contained on her credit report. Accordingly, this letter shall serve as formal notice
            pursuant to the Fair Credit Reporting Act, 15 U.S.C. 1681, et seq. (hereinafter "ACT") that
            Kristen L. Emrich disputes any negative entries as well as any balance due on the following and
            demands a validation of the same pursuant to the ACT.

                                                     Disputed References

                     1     Ally Bank
                           Loan Number:              MMI5520
                           Vehicle:                  2015 Hyundai Elantra
                           VIN:                                       6353

                   Ms. Emrich disputes any amount shown due on this loan after February 19, 2018, and
            any late payment(s) on this account as it was paid in full on February 19, 2018.




         P 813.251.8800
         F 813.251 5042



320W KENNEDY BLVD. SUITE 700, TAMPA, FLORIDA 33606                               www.craigerothburcipa corn •
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                                                                                    Equifax Letter
                                                                               - Kristen L. Emrich
                                                                                            Page 2




        As evidence that the above referenced account was paid in full, enclosed is a copy of
 correspondence from Ally Bank confirming the account was paid in full on February 19, 2018,
 together with a copy of the Retail Installment Sale Contract stamped Paid in Full by Ally Bank
 and delivered to Ms. Emrich. The vehicle that was the subject of the above referenced account
 was involved in a motor vehicle accident and determined to be a total loss. Between Ms.
 Emrich's insurance company and the GAP insurance policy on the vehicle, the entire remaining
 balance due Ally Bank on the above referenced account was paid in its entirety. Therefore, no
 balance remains owed and this account was never past due.

         Ms. Emrich disputes any negative credit reference contained on her credit report relating
 to the above referenced Ally Bank account pursuant to the ACT. Accordingly, demand is hereby
 made for validation, pursuant to the ACT, of the credit references above. If the creditor fails to
 validate the credit reference contained on Ms. Emrich's credit report within the time prescribed
 under the ACT, thirty (30) days, then Ms. Emrich demands its removal from her credit report as
 provided in the ACT. Failure of your company to timely respond will subject it to the statutory
 penalties as well as attorney's fees and costs provisions under the ACT.

        If the creditor does provide a proper validation of the above disputed account, then Ms.
 Emrich demands inclusion of her dispute of the same be included in her credit report as also
 provided in the ACT. I look forward to your timely response to the disputed reference contained
 in Ms. Emrich's credit report pursuant to the ACT. Thank you for your time and anticipated
 cooperation.

                                                     Sinq.rely,



                                                     Craig E. Rothburd

 CER/m1r
 ENCLOSURES (as slated)

 cc w encls:   Client
               James Giardina
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ally
P.O. Box 8100
Hunt Valley, MD 21030
                                                                          February 20. 2018

        Kristen L Emrich

                    , FL 33579-7758



                                                                          Account ;I:           5521)
                                                                          Contract Date: 07/2312016
                                                                          V1N:                     6353
                                                                          Vehicle: 2015. Flynn. Elantra
                                                                          NIL' Amount Financed Paid: 02119/2018

Dear Kristen L Emrich:

Congratulations on paying off your auto financing! And on behalf of the entire Ally team, thank you. II was our
privilege to serve your auto financing needs.

Now is a great time to put your money to work for you. Our high standard of sen ice goes beyond auto (Mancini!,
Whether you'd like to invest in a high-yield CD or open an interest checking account. we at All arc here to help.
Learn more at allv.com.

We appreciate your business and hope you consider us when financing your next ‘'ehicle.

Sincerely.
Ally Financial


Contact Information: You can reach us by visiting ally.com/auto or call 888-925-ALEX (2559).




SM M009 PI F            5520                                                                            001.037364939
M All.



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                   Case 8:19-cv-00320-JSM-CPT     Document
                              RETAIL INSTALLMENT SALE        1-1 -Filed
                                                      CONTRACT       SIMPLE02/06/19
                                                                             FINANCE Page 33 of 60 PageID 38
                                                                                     CHARGS.
                                             (WITH ARBITRATION PROVISION)                  rAID IN FULL r)
                                                          reinirect Number
                                                       Dealer Number
                                                                                              TF:     ith-j
                                                                                                               CONTV 0 37364939
BuyeeNam.e and Address                     _                               Co-Buyer Name and Adk              R 001. 000 01432369
(et ie                 t           tiN,P                                      1.: Un- ALEU E
                                                                                                                                                    /00108 BPULL
          1                                                                  4.:2 t.it.Vi HW'r                                                  PFOLD                                      6353
                                                                                      F;.

Buyer's Birth Month:                                                       Co-Buyer's Birth Month:                     1110111111111111111111111111111111111111111111111IIMEN
                                                                                                                    1111

'ou, the Buyer (and Co-Buyer, if any), may buy the vehicle below for cash or on credit. By signing tnis Contret,i yuu                       vehicle
in credit under the agreements on the front and back of this contract. You agree to pay the Seller-Creditor (sometimes "we" or "us" in this
:ontract) the Amount Financed.and Finpce Charge in U.S. funds according to the payment schedule below. We will figure your finance charge on a daily
iasis at the Base Rate of           °. per year. The Truth-In-Lending Disclosures below are part of this contract.
    have thorouahlv
                ,-    inspected,accepted,and
                         •                    approved the vehicle in all respects.
                                                 Make                   Weight
New/Used/Demo                  Year            and Model                (lbs.)                Vehicle Identification Number                       Primary Use For Which Purchased
                                                                                                                                                  Personal, family, or household unless
                                                                                                                     ,                                 otherwise indicated below
                                                                                                                                            0 business
                                                '                                                                                           0 agricultural     III-
You agree that we advised you whether, based on seller's knowledge, the vehicle was tilled, registered, or used as a taxicab, police vehicle, short term rental or is
a vehicle that is rebuilt or assembled from parts, a kit car, a replica, a flood vehicle, or a manufacturer buy back.


                              FEDERAL TRU H-IN-LENDING DISCLOSURES                                                                           Insurance. You may buy the physical damage insur-
                                                                                                                                             ance this contract requires (see back) from anyone
      ANNUAL                    FINANCE       Amount       Total of                                                  Total Sale
                                                                                                                                             you choose who is acceptable to us. You are not
    PERCENTAGE                  CHARGE       Financed     Payments                                                     Price                 required to buy any other insurance to obtain credit
       RATE                         The dollar                  The amount of             The amount you         The total cost of
                                                                                                                                             unless the box indicating Vendor's Single Interest
       The cost of                  amount the                  credit provided          will have paid after   your purchase on
                                                                                                                 credit, including           Insurance is required is checked below. Your choice of
      your credit as                 credit will                   to you or             you have made all
                                                                                                                                             insurance providers wit not affect our decision to sell
      a yearly rate.                 cost you,                  on your behalf,             payments as             your down
                                                                                                                   payment of                you the vehicle or extend credit to you.
                                                                                              scheduled.
                                                                                                                                                  If any insurance is checked below, policies or
                                                       -                                        .          . S             .         is      certificates from the named insurance companies will
                    ..4      ,
                           eio $                                                         $      ' —      --     $          •   -             describe the terms and conditions.

Your Payment Schedule Will Be:                                                                             (e means an estimate                 Check the insurance you want and sign below:
          Number of                  Amount of                         When Payments                                                                    Optional Credit Insurance
I    ai   Payments                   Payments                              Are Due                                                          0 Credit Life:       • Buyer 0 Co-Buyer                0 Both
                                                   ,        Monthly beginning                                                               Term
                                                                                                                                            0 Credit Disability: 0 Buyer 0 Co-Buyer 0 Both
           .                                                                                                                                                  • .
                                           .                                         •                                                      Term
                                                                                                                                            Premium:
                                           .                                                                                                                                         •
    Or As Follows:                                                                                                                              Credit Life $
                                                                                                                                                Credit Disability S
                                                                                                                                            Insurance Company Name •
    Late Charge. If payment is not received in full within                 10     days after it is due, you will pay a late charge
    of    5    *. of each installment                                                                                                       Home Office Address ...-ti—:—
    Prepayment. If you pay off all your debt early, you may have to pay a penalty.                                                           A. .
    Security Interest. You are giving a security interest in the vehicle being purchased.                                                   Credit life insurance and credit disability insurance are not
                                                                                                                                            required to obtain credit Your decision to buy or not to buy
    Additional Information: See this contract for more information including information about nonpayment,                                  credit life insurance and credit disability insurance will not be a
    default, prepayment penalties, any required repayment in full before the scheduled date and security interest.                          factor in the credit approval process. They will not be provided
                                                                                                                                            unless you sign and agree to pay the extra cost. If you choose
                                                                                                                                            this insurance, the cost is shown in Item 4A of the Itemization
                                                                                                                                            at Amount Financed Credit life insurance is based on your
 ITEMIZATION OF AMOUNT FINANCED                                                                                                             original payment schedule. This insurance may not pay at you
 1 Cash Price (including S                                 sales tax)                                                              (1)      owe on this contract if you make late payments. Credit disability
                                                                                                                                            insurance does not cover any increase in your payment or in
 2 Total Downpayment =                                                                                                                      the number of payments.
          Gross Trade-In Allowance
                                                                                                                                            If the box above is checked to indicate that you want credit life
               Less Pay Ott Made By Seller (e)                                                                                              ;nsurance, please read and sgn thelollowng acknowled9ments,
                                                                                                                                            I You understand that you have the option of assigning any
               Equals Net Trade In                                                                                                          other policy or polices you own or may procure for the purpose
               + Cash                                                                                                                       of covering (ha extension of credl and that the policy need riot
                                                                                                                                            be purchased from us in order to oda n the extension of credit.
               + Other
                                                                                                                                            x       k   •
               (If total downpayment is negative, enter '0' and see 4J below)                                                                                                              •
                                                                                                                                                                                               ,
                                                                                                                                            Buyer                                                   Date
    3 Unpaid Balance of Cash Price (1 minus 2)
       Other Charges Including Amounts Paid to Others on Your Behalf                                                                         x • ..•                                       , .1 -------
                                                                                                                                            Co-Buyer                                               Date
       /Seller may keep part of these amounts):
                                                                                                                                            2 You understand that the credt Ile coverage may be
       A Cost of Optional Credit Insurance Paid to Insurance                                                                                deferred if at the time of appical on you are unable to engage
          Company or Companies.
                                                                                                                                            in employment or unable to perform normal activities at a
                                                                                                                                            person of like age and sex, (i'W need not sign this acknowl-
          Life                                                                                                                              edgement f the proposed credt de insurance policy does not
          Disability                                                                                                                        contati ths restrcton )
       B Vendor's Single Interest Insurance Paid to Insurance Company                                                                       X ,         .•
                                                                                                                                            nivPr                                                   Date
           4.r.            Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19edgement
                                                                                     Page        34 of cr.60
                                                                                          if the'proposed       PageID
                                                                                                          edit life              39does not
                                                                                                                    insurance'policy
           Disability                                                                           'A                                            contain this restriction.)
      B Vendors Single Interest Insurance Paid to Insurance Company                                                                           X           .., t 7                                                         ,

      C Other Optional Insurance Paid to Insurance Company or Companies                                                                       Buyer                                                                               Date
      D Optional Gap Contract                                                                                                                 X k, / l                                           •

      E Official Fees Paid to Government Agencies                                                                                             Co-Buyer                                       '      Date
                                                                                                                                              3. You understand that the benefits under the policy will ter-
      F Government Documentary Stamp Taxes                                                                                                    minate when you reach a certain age and affirm that your age
      G Government Taxes Not Included in Cash Price                                                                !! 4                       is accurately represented on the application or policy.
      H Government License and/or Registration Fees                                                                                           X /..1 1 r.;                                                 ,,             .
                                           iitr                                                                                               Buyer '                                                                             Data
noA        Government Certificate of Title Fees                                                                                               X I*; / A                                                    '              •
      J Other Charges (Seller must identify who Is pad and                                                                                    Co-Buyer                                                         "                  Date
           describe purpose)                                                                                                                                        Other Optional Insurance
                  to   1                          for Prior Credit or Lease Balance le)                                                    (3 f1                                                                     .      ,
                  to    *                         for     •": ,   "                                                                                                 Type of Insurance                                     Term
                  to N A                          for ;                                                                                       Premium S                         h

                  to                              for A                                                                                       Ins. Co Name & Address
                                                  forf'T.                                                 ---C                                !II / A
                                                  for                                                                                         t*I./ ,1
                                                  for',                                                                                                                                                               ....I...L.__

                                                  for.                                                                                                  Type of Insurance                                                 Term
                                                                                                                                                                      „
                                                  for                                                                                         Premium S                .
                                                  for                                                                                         Ins Co. Name & Address '                     '
        Total Other Charges and Amounts Paid to Others on Your Behalf                                                               (4)
5 Loan Processing Fee Paid to Seller (Prepaid Finance Charge)                                                                                 h       A
                                                                                                                                    (5)
6 Amount Financed (3 plus 4)                                                                                                        (6)    0*               '                                                   .      .
                                                                                                                                             '                  Type at Insurance                                   ' Term

OPTION: 0 You pay no finance charge if the Amount Financed, item 6, is paid in full on or before                                              Premium S                        I. , • ,
           •
                              , Year        .SELLER'S INITIALS         •.                                                                  Ins Co. Name & Address •
                                                                                                                                           , .
                                                                                                                                            ,
OPTIONAL GAP CONTRACT. A gap contract (debt cancellation contract) is not required to obtain credit and will not be provided
unless you sign below and agree to pay the extra charge. If you choose to buy a gap contract the charge is shown in Item 4001 the          r•_i
                                                                                                                                                                                                                              .
Itemization of Amount Financed. See your gap contract for details on the terms and conditions it provides. It is a pan of this contract    " '              •
                                                                                                                                                                Type ol Insurance                                  ' Term
      ...
                                                                 .
Term                                           Mos                         '                                                               Premium 5              '
                                                                                                                                                                *
                                                                                    Name of Gap Contr                                      Ins. Co Name & Address ‘, •

                                                                                                                                           „

Buyer Signs. r_ lie
         .._
                       f       "P, 4C44")                                                                                                  0-              '
                                                                                                                                                                Type of Insurance
                                                                                                                                                                                                                     .
                                                                                                                                                                                                                   ' Term
         t
NI VENDOR'S SINGLE INTEREST INSURANCE (VSI insurance): If the preceding box Is checked, the Creditor                                       Premium S            , ...
requires VSI insurance for the initial term of the contract to protect the Creditor tor loss or damage to the vehicle                      Ins. Co. Name & Address ',                          *
1—silision, (ire, theft). VSI insurance is for the Creditor's sole protection. This insurance does not protect your                       k       •
     ast in the vehicle. You may choose the insurance company through which the VSI Insurance is
outained. If you elect to purchase VSI insurance through the Creditor, the cost of this insurance is                                      "
$                         and is also shown in Item 4B of the Itemization of Amount Financed. The coverage is for                          Other optional insurance is not required to obla:n credt YArr i
the initial term of the contract.                                                                                                          decision to buy or not buy other opt onal insurance vil not be '
                                                                                                                                           a factor in the credit approve* process. It will not be provided
You authorize us to purchase Vendor's or Lender's Single Interest Insurance.                                                               unless you sIgn and agree to pay the extra cost                  ,
                                                                                                                                           I want the insurance checked above
                               •                                                            ,                                              X •.                                                        ,           ;.‘,
 Buyer Signs X                                      Co-Buyer Signs X                                         Date •
                                                                                                                                           Buyer Signature                                                                    Date
                             Trade-In Vehicle                                                   Trade-In Vehicle
                                                                                                                                           X , •*                                                  *       *,
                                       ,                                                                                                   Co-Buyer Stgnature                                                             —
                                                                                                                                                                                                                          Date
Year.; '                      Make '                                  Year'         •            Make '
Model ' •                                                             Model. .'                                                               LIABILITY INSURANCE COVERAGE FOR
VIN ' •                                                               VIN .L :'.                                                              BODILY INJURY AND PROPERTY DAMAGE
                            .      .
Gross Trade-In Allowance $ —•                                         Gross Trade-In Allowance S "                                            CAUSED TO OTHERS IS NOT INCLUDED IN
                                                             JO                                                                               THIS CONTRACT.
Payoff Made by Sete( $                                                Payoff Made by Seiler $    '                                 tel
lienholdeti ,',1                                                      Liertholdef       k                                                  Returned Payment Charge: fry check or other payment instrument
                                                                                                                                          you gve usisdishonored ix any e'ectroric payment you make is returned
You assign to Seller allot your rights, title and Interest in such trade•in vehicle(s). Except as expressly stated to Seller
                                                                                                                                          unpjd. you will pay a cage of $25 4 the paimel amount is S50 or less
In writing, you represent that your trade-in vehicle(s) has not been Involved in an accident, has not had any major body
damage or required any major engine repair, and was not previously used as a taxicab, police vehicle, short term rental                   .3.30if the payment amourts over i$0 but ,o1 more than $300; $40 if die
or is a vehicle that Is rebuilt or assembled from pans, a kit car, a replica, a flood vehicle, or a manufacturer buy back.                payment amounts over $300: or such amo*.mt as permitted by law.
                                                                                                                                                                                 ..--
                  " ______ Co-Buyer Initials h i
Buyer Initial;- ____                                                                                                                      Florida documentary stamp tax rectiked by law in the amount
Trade-In Payoff Agreement: Se er relied on information from you and'or the kenholder or lessor of your trade-in vehice to arrive          01 $                        .                   has been paid or will be paid
at the trade-in payoff amount shown above and in Item 2 of the Itemization of Amount Financed as the Pay Off Made by Seller               directly to the Department of Revenue.
You understand that the amount quoted is an estimate
Seller aarees to oav the oavoff amount shown above and in Item 2 to the lienholder or lessor of the trade-in vehicle, or its desionee     Certificate of Registration No
                                                                                                                                                                                                   -
   •   •


    .....   Case
             row *sp.8:19-cv-00320-JSM-CPT
                           y vv. to
                      GOGIll Mt.    .11 'MI MA01011104 Mil uvvi Document          1-1nas Filed
                                                                111YVIYOU tldrudc4luwu,           02/06/19
                                                                                         not nau arty major 000y Page 35 of 60 PageID 40
 damage or required any major engine repair, and was not previously used as a taxicab, police vehicle, short term rental                     530 if the payment amount ts over S50 but not more than $300:$40110u
 or is a vehicle that is rebuilt or assembled from parts, a kit car, a replica, a flood vehicle, or a manufacturer buy back.                 payment amount Is over S300, or such amount as panelled by law.

 Buyer InItial;,               Co-Buyer Initials         A                                                                                   Florida documentary stamp tax required by law in the amoun
 Trade-In Payoff Agreement: Setter relied on information from you and/or the lienholder or lessor of your trade-in vehicle to arrive      of $                             has been paid or will be pair
 at the trade-in payoff amount shown above and in Item 201 the Itemization of Amount Financed as the Pay Off Made by Seller.              directly to the Department of Revenue.
 You understand that the amount quoted is an estimate.
 Seller agrees to pay the payoff amount shown above and in item 2 to the lienholder or lessor of the trade-in vehicle, or its designee.   Certificate of Registration No.          --•
 II the actual payoff amount is more than the amount shown above and in Item 2 you must pay the Seller the excess on demand.
 If the actual payoff amount is less than the amount shown above and in Item 2 Seller will refund to you any overage Seller receives         You assign all manufacturer rebates and cash back
 from your prior lienholder or lessor. Except as stated in the 'NOTICE' on the back of this contract, any assignee of this contract          incentives used as a downpayment on this contract to
 will not be obligated to pay the Pay Off Made by Seller shown above and in Item 2 or any refund.                                            seller. You agree to complete all documents required for
 Buyer Signature X                                               Co-Buyer Signature X `, 2                                                   assignment of rebates and incentives.

LAgreement to Arbitrate: By signing below, you agree that, pursuant to the Arbitration Provision on the reverse side                                       is contract, you or we may elect to resolve
a ny dispute by.n r    *nding arbit lion and not by a court action. See the Arbitration Provision fo_,____
                                                                                                       r                                                          cerning the agreement to arbitrate.
 Buyer Signel                                                                    Co-Buyer Sigrint          _

 ...../ER'S. RIGHTTO CANCEL - If Buyer and Co-buyer sign here, the provisions of the Seller's Right to Cancel section on the back, which gives
 the Seller the right to cancel if Seller is unable to assign this contract within. ,                  days, will apply. If you fail to return the
 vehicle within 48 hours after receipt of the notice of cancellation, you agree       ay Seller ar of $ "; A      ;   s             per day from
 thete cancellati n until the vehicle Is returned or repossessed. •,*i
             i
             d
 ' •er Signs

                                            NO COOLING OFF PERIOD
  State law does not provide for a "cooling off" or cancellation period for this sale. After you sign this contract,
  you may only cancel it if the seller agrees or for legal cause. You cannot cancel this contract simply because
  you change your mind. This notice does not apply to home solicitation sales.

  The Annual Percentage Rate may be negotiable with the Seller. The Seller may assign this contract
  and retain its right to receive a part of the Finance Charge.
                                                                                                                                                                                       6.
 HOW THIS CONTRACT CAN BE CHANGED. This contract contains the.                pntir .g / ;p•nt between you a us relating to this contract. Any oh..           "M. in writing and we
 must sign it. No o4 changes are binding.                      Buyer Signs-Xet.e.n.,..".//' '                              Co-Buyer Signs*            -,.... IOW
 If any part of this contract is not valid, all other parts stay valid. We May • 1, . or refrain from enforcing any of our rights under this'oontra wit out • g em. or 4 ample, we
 may extend the time for making some payments without extending the time for making others.
 See back for other important agreements.
  NOTICE TO THE BUYER: a) Do not sign this contract before you read it or if it contains any blank spaces. b) You are
  entitled to an exact copy of the contract you sign. Keep it to protect your legal rights.
  You agree to the terms of this contract, You confirm that before you signed this contract, we gave it to you • d you were free to take it
  and review it. You acknowledge that you have read both sides of this contract, including the arbitrat'• - .- •viskin on the reverse side,
  before signing . - lo .Y-u confirmZyou received a completely filled-in copy when you - ig - • it.
                      I                                                                                                            r
 Buyer Signs X - Aso / 4 /                                               Date - '                 Co-Buyer Signs'Xi           410        .....              Date -
  Co-Buyers an Other Owners — A co-buyer is a person who is responsible for paying the entire debt. An other owner is a person whose name IS on the title to the vehicle but
  does not have to pay the debt. The other owner agrees to the security interest in the vehicle given to us in this contract.
                                                                                                                                               --
 Other owner signs here X                                                                          Address                        . .. _
 Seller Signi . P - -             .                                      Dale'                     By X

                                                             •• e •   . . .                                                       II— ---,        — 11-.   a__ _f n_11_ •_ __ ___-_-1/-%       'al_ •__ ___




       0 Assigned with recourse                                                     • • 0 Assigned without recourse                                                i Assigned with limited recourse

 Seller                                                                                 By                                                           Title   /17ei
                                                                                                                                                                — e---
LAW           FORM NO. 553-FL-ARB               S      :Ht. 1. 0463 -3/
                2 14 The Re,naIds and Re,           mpa y TOOPDE;         e, sovz       a;    936 I •   " 6
              ME PRIMER MARES 1/0 WARRANTY EXPRESS OR IMPUE0 AS TO CONTEJIT OR
              FITNESS FOR PURPOSE OF MIS FORM CONSULT YOUR Ow14 LEO AL COUNSEL                                                    ORIGINAL LIENHOLDER
  •

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               Craig E. Rothburd                    pA
                                                                                  Sender's E-maik crothburd@e-rlaw.corn




                                                         May 24, 20418



         VIA US MAIL - REGULAR &
         CERTIFIED MAIL: 7011 3500 0001 2010 7390
         - Return Receipt Requested
         Experian
         PO Box 4500
         Allen, Texas 75013


                  Re:     Disputed Items on Credit Report for the following individual:
                          Name:               Kristen L. Emrich
                          Social Security #:          462
                          Date of Birth:     W87
                          Mailing Address:                                       , Florida 33579
                          CERPA File No.      6667

         Dear Sir or Madam:

                This letter is to put Experian on notice that our firm has been retained by the above
         named individual in connection with a certain dispute she has with the information contained on
         her credit report. Accordingly, this letter shall serve as formal notice pursuant to the Fair Credit
         Reporting Act, 15 U.S.C. 1681, et seq. (hereinafter "ACT") that Kristen L. Emrich disputes any
         negative entries as well as any balance due on the following and demands a validation of the
         same pursuant to the ACT.

                                                    Disputed References

                  1.      Ally Bank
                          Loan Number:              1=115520
                          Vehicle:                  2015 Hyundai Elantra
                          VIN:                                       6353

                Ms. Emrich disputes any amount shown due on this loan after February 19, 2018, and
         any late payment(s) on this account as it was paid in full on February 19, 2018.




      P 81325880C
      F 813.251 5042



320W KENNEDY BLVD, SO rE 700. TAMPA FLORIDA 33606                               www.craigerothburdpa cnal     •
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                                                                                   Experian Letter
                                                                               - Kristen L. Emrich
                                                                                            Page 2




        As evidence that the above referenced account was paid in full, enclosed is a copy of
 correspondence from Ally Bank confirming the account was paid in full on February 19, 2018,
 together with a copy of the Retail Installment Sale Contract stamped Paid in Full by Ally Bank
 and delivered to Ms. Emrich, The vehicle that was the subject of the above referenced account
 was involved in a motor vehicle accident and determined to be a total loss. Between Ms.
 Emrich's insurance company and the GAP insurance policy on the vehicle, the entire remaining
 balance due Ally Bank on the above referenced account was paid in its entirety. Therefore, no
 balance remains owed and this account was never past due.

         Ms. Emrich disputes any negative credit reference contained on her credit report relating
 to the above referenced Ally Bank account pursuant to the ACT. Accordingly, demand is hereby
 made for validation, pursuant to the ACT, of the credit references above. If the creditor fails to
 validate the credit reference contained on Ms. Emrich's credit report within the time prescribed
 under the ACT, thirty (30) days, then Ms. Emrich demands its removal from her credit report as
 provided in the ACT. Failure of your company to timely respond will subject it to the statutory
 penalties as well as attorney's fees and costs provisions under the ACT.

        If the creditor does provide a proper validation of the above disputed account, then Ms.
 Emrich demands inclusion of her dispute of the same be included in her credit report as also
 provided in the ACT. I look forward to your timely response to the disputed reference contained
 in Ms. Emrich's credit report pursuant to the ACT. Thank you for your time and anticipated
 cooperation.

                                                    ' erely,
                                                Z: II_
                                                               _

                                                      .,
                                                       raig E. Rothb

 CER/m1r
 ENCLOSURES (as stated)

 -cc w ends:   Client
               James Giardina
          Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 38 of 60 PageID 43



ally
P.O. Box 8100
Hunt Valley, MD 21030
                                                                          February 20. 2018

          Kristen L Emrich

                    , FL 33579-7758



                                                                          Account II:           5520 •
                                                                          Contract Date: 07/23/2016
                                                                                                   6353
                                                                          Vehicle: 2015. Ilyun, Elantra
                                                                          Date Amount Financed Paid: 02/19/2018

Dear Kristen L Emrich:

Congratulations on paying off your auto financing! And on behalf ofthe entire Ally team, thank you. It was our
privilege to serve your auto financing needs.

Now is a great time to put your money to work for you. Our high standard ()ism ice goes beyond auto financing.
Whether you'd like to invest in a high-Yield CD or open an interest checking account. we at Ally are here to help.
Learn more at ally.cont

We appreciate your business and hope you consider us when financing your next vehicle.

Sincerely.
Ally Financial


Contact Information: You can reach us by visiting ally.com/auto or call 888-925-ALLY (2559).




SV1\1009 PIE   IIIM520                                                                                 001.03736-193q
N4 All.




                                                                      111111111111111111111111111111      1111111111
             •

                 Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 39 of 60 PageID 44
                            RETAIL INSTALLMENT SALE CONTRACT - SIMPLE FINANCE CHARGE.
                                           (WITH ARBITRATION PROVISION)            FAIC,, IN FULL r
                                                   Dealer Number                                         rtantract Number
                                                                                                                                                                                         a                      r
                                                                                                            CONTV 037364939
Brer.Nale. and ,
               Address,._                                           Co-Buyer Name and Ad(                  R 001. 00001432369
                                                                            7 A
                                                                                                                                                           /00108 BPULL
                                                                                    ";
                                                                            t                    Ke4"(                                                P FOLD                                         6353
                                                                                        !"         '
  1

Buyers Birth Month:                                                 Co-Buyer's Birth Month:                          I I 11111111111111111111111111 1111111 111111111111 11111111111111 Il
cu, the Buyer (and Co-Buyer, if any), may buy the vehicle below for cash or on credit. By signing tnis conri.i, yvu                 _ ,     vehicle
n credit under the agreements on the front and back of this contract. You agree to pay the Seller-Creditor (sometimes "we" or "us" in this
ontract) the Amount Financed and Finance Charge in U.S. funds according to the payment schedule below. We will figure your finance charge on a daily
asis at the Base Rate of             % per year. The Truth-In-Lending Disclosures below are part of this contract.
   have thorouahlv
               ..• •
                     inspected,accepted,and
                        =           .        approved the vehicle in all respects.
                                            Make                 Weight
New/Used/Demo                Year         and Model              (lbs.)                      Vehicle Identification Number                             Primary Use For Which Purchased
                                                                                                                                                      Personal, family, or household unless
                                                                                                                                                           otherwise indicated below
                                           ,. .     .                                                                 •
                                                                                                                                                 0 business
                                                                                                                                                 0 agricultural             0
You agree that we advised you whether, based on seller's knowledge, the vehicle was tilled, registered, or used as a taxicab, police vehicle, short term rental or is
a vehicle that is rebuilt or assembled from parts, a kit car, a replica, a flood vehicle, or a manufacturer buy back.


                           FEDERAL TRUTH-IN-LENDING DISCLOSURES                                                                                    Insurance. You may buy the physical damage insur-
                                                                                                                                                   ance this contract requires (see back) from anyone
   ANNUAL                    FINANCE       Amount       Total of                                                      Total Sale                   you choose who is acceptable to us. You are not
 PERCENTAGE                  CHARGE       Financed     Payments                                                         Price                      required to buy any other insurance to obtain credit
    RATE                        The dollar                The amount of              The amount you            The total cost of
                                                                                                                                                   unless the box indicating Vendors Single Interest
    The cost of                 amount the                credit provided           will have paid after      your purchase on
                                                                                                                                                   Insurance is required is checked below. Your choice ol
   your credit as                credit will                 to you or              you have made all          credit, including
                                                                                                                                                   insurance providers will not affect our decision to sell
   a yearly rate.                cost you.                on your behalf,               payments as               your down
                                                                                                                 payment of                        you the vehicle Of extend credit to you.
                                                                                         scheduled
                                                                                                                                                        II any insurance is checked below, policies or
                                               -                                                             S            _ - . . -.. _ is         certificates from the named insurance companies will
         T._ % $               $                                                    $                    _ . $ _. _                                describe the terms and conditions.

Your Payment Schedule Will Be:                                                                            (e means an estimate                        Check the insurance you want and sign below:
       Number of                  Amount of                        When Payments                                                                              Optional Credit Insurance
1 _a Payments                     Payments                             Are Due                                                                    • Credit Life:      0 Buyer 0 Co-Buyer                  0 Both
                                                        Monthly beginning                                                                                             • .
                                                                                                                                                  Term
                                                                                                                                                  • Credit Disability: 0 Buyer 0 Co-Buyer 0 Both
                                                                                                                                                                    . .
                                  .   .                                            .                                                              Term
                                                                                                                                                  Premium:
 Or As Follows:                   f   '                                                                                                               Credit Life $
                                                                                                                                                                                     4       1




                                                                                                                                                      Credit Disability S                        •
                                                                                                                                                  Insurance Company Name •
                                                                       10       days after it is due, you will pR'y a late charge                   s, s,
 Late Charge. If payment is not received in full within
 of    5    I'. of each Installment                                                                                                              Home Office Address ... -•
 Prepayment. If ycu pay off all your debt early, you may have to pay a penalty.                                                                    ,,.
 Security Interest. You are giving a security interest in the vehicle being purchased.                                                           Credit life insurance and credit disability insurance are not
                                                                                                                                                 required to obtain credit Your decision to buy or not to buy
 Additional Information: See this contract for more information including information about nonpayment.                                          credit life insurance and credit disability insurance will not be a
                                                                                                                                                 factor in the credit approval process. They will not be provided
 default, prepayment penalties, any required repayment in full before the scheduled date and security interest.                                  unless you sign and agree to pay the extra cost. II you choose
                                                                                                                                                 this insurance, the cost is shown in Item 4A of the Itemization
                                                                                                                                                 of Amount Financed. Credit tile insurance is based on your
ITEMIZATION OF AMOUNT FINANCED                                                                                                                   original payment schedule. This insurance may not pay all you
1 Cash Price (including S -                         sales tax)                                                                         (1)       owe on this contract if you make late payments. Credit disability
                                                                                                                                                 insurance does not cover any increase in your payment or in
2 Total Downpayment                                                                                                                              the number of payments.
         Gross Trade-In Allowance
                                                                                                                                                  lithe box above is checked to indicate that you want credit life
            Less Pay Off Made By Seiler (e)                                                                                                       insurance, please read and sign 'held low rig acknowledgments.
                                                                                                                                                  1.You understand that you have the option of assigning any
            Equals Net Trade In                                                                                                                   other policy or policies you own or may procure kir the purpose
            + Cash                                                                                                                                of covering this extension of credit and that the policy need not
                                                                                                                                                  be purchased from us in order to obtain the extenson of credit
            + Other
            (If total downpayment is negative, enter '0" and see 4J below)                                                             (2)        X .         •                                       •
                                                                                                                                                  Buyer                                                       Date
 3 Unpaid Balance of Cash Price (1 minus 2)                                                                                            (3)
      Other Charges Including Amounts Paid to Others on Your Behalf                                                                               X i                                              , .
                                                                                                                                                  Co-Buyer                                                 Date
      tSeller may keep part of these amounts):
                                                                                                                                                  2. You understand that the credit We coverage may be
      A Cost of Optional Credit Insurance Paid to Insurance                                                                                       deferred if, at the time of application, you are unable to engage
                                                                                                                                                  in employment or unable to pad= normal activities of a
         Company or Companies.                                                                                                                    person of like age and sex. (You need not sign this acknowl-
         Life                                                                                                                                     edgement if the proposed credit life insurance policy does not
         Disability                                                                                                                               contain this restnction.)
                                                                                                                 _
      B Vendor's Single Interest Insurance Paid to Insurance Company                                                                              X      •                                                •
                                                                                                                                                  Rouvar                                                      Dale
                  9


            Lite
                           Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19personPage     40
                                                                                        of me age and of
                                                                                                      sex. 60
                                                                                                           (You PageID          45acknowl-
                                                                                                                need not sign this
                                                                                         N/A                                                  edgement if the proposed credit life insurance policy does not
            Disability                                                 S                 N/A                            f•f A                 contain this restriction.)
         B Vendor's Single Interest Insurance Paid to Insurance Company                                                 r•I!                     Xs 1 , ,,
                                                                                                                                                                                                       !`l ..%---
         C Other Optional Insurance Paid to Insurance Company or Companies                                              ti                       Buyer                                                       ' Dale
         • Optional Gap Contract                                                                    s                    (111                                                               .; i......_____.
         E Official Fees Paid to Government Agencies                                                                         /4               Co•Buyer                                               Date
                                                                                                                                              3. You understand that the benefits under the policy will ter-
         F Government Documentary Stamp Taxes                                                                                                 minate when you reach a certain age and affirm that your age
         G Government Taxes Not Included in Cash Price                                                                  ft/a                  is accurately represented on the application or policy
         H Government License and/or Registration Fees                                                                                        X !,1/ e,                                                %           ..
                         L        r:_•4.-            r                 ,F                                                                     Buyer                                                        '                Date
-'I I'
noA         Government Certificate of Title Fees                                                                                              X
         J Other Charges (Seller must identify who is paid and                                                                                Co-Buyer                                                                      Date
            describe purpose)                                                                                                                                        Other Optional Insurance
                 to f\                                for Prior Credit or Lease Balance (e)                                                   0 P. i           ;!,                                             .      .
                 to -                                 for. .               —                                                                                         Type of Insurance                             'Term
                 to                                   for !:                                                                                  Premium $                             1.1 : a
                 to h • A                             for                                                                                     Ins. Co. Name & Address                   !': : A
                                                      for '"".1.N7                                                                             Ai / 4
                                                      for                                                                                         PI / 4
                                                      for                                                                                     III N i A                                                        ' .A
                                                      for'                                                                                                           Type of Insurance                          ' Term
                 to                                   for                                                                                     Premium S
                      ..   •
                 to                                   for                                                                                     Ins. Co. Name & Address                   , a
           Total Other Charges and Amounts Paid to Others on Your Behalf                                                             (4)      p! t .1
 5 Loan Processing Fee Paid to Seller (Prepaki Finance Charnel                                                                       (5)
 6 Amount Financed (3 plus 41                                                                                                        (6)     DL •                                                          .            .
                                                                                                                                               " * Type of Insurance                                           ' Term
OPTION: 0 You pay no finance charge if the Amount Financed, item 6, is paid in full on or before                                              Premium $
                                                   , Yea'r           SELLER'S INITIALS                  •                                    Ins. Co. Name & Address •                        •
                                                                                                                                             , .
OPTIONAL GAP CONTRACT. A gap contract (debt cancellation contract) is not required to obtain credit and will not be provided                 b.       •

unless you sign below and agree to pay the extra charge. If you choose to buy a gap contract, the charge is shown in Item 4001 the
                                                                                                                                             0      ,      •
Itemization of Amount Financed. See your gap contract for details on the terms and conditions it provides. It is a part of this contract.                                                                  •            •
                                                                                                                                                     ' .             Type ol Insurance                         ' Term

Term                                                 Mos.                                                                                     Premium S                         .       .
                                                                                         Name of Gap Con                                     Ins. Co. Name & Address t                        •

           to buy a gag                                                                                                                      ,       t

Buyer Signs0                                                                                                                                 0-            •
                                                                                                                                                                     Type,of Insurance                             Term
  0 VENDOR'S SINGLE INTEREST INSURANCE (VSI insurance): If the preceding box is checked, the Creditor                                        Premium S            ., ,
  requires VSI insurance for the initial term of the contract to protect the Creditor for loss or damage to the vehicle                      Ins. Co. Name & Address
  i•-"Ilision, fire, theft). VSI insurance is for the Creditor's sole protection. This insurance does not protect your
         est in the vehicle. You may choose the Insurance company through which the VSI insurance is                                                                                                                               ,
  outained. It you elect to purchase VSI insurance through the Creditor, the cost of this insurance Is
                              and is also shown in Item 48 of the Itemization of Amount Financed. The coverage is for                        Other optional insurance is not required to obtain credit Your
  the initial term of the contract.                                                                                                          decision to buy or not buy other optional insurance will not be
                                                                                                                                             a factor in the credit approval process. It will not be provided
  You authorize us to purchase Vendor's or Lender's Single Interest Insurance.                                                               unless you sign and agree to pay the extra cost.
                                                                                                                                             I want the Insurance checked above
  Buyer Signs X                                           Co-Buyer Signs X                                      Date.                                                                                      ;•
                                                                                                                                             Buyer Signature                                                                Date
                               Trade-In Vehicle                                             Trade-In Vehicle                                                                                      „
                                                                                                                                             x, :.                                                 _
             I

                                                                       Year                                                                  Co-Buyer Signature                                                             Date
Year •                         Make                                                  _Make '
Mod                                                                    Model,                                                                     LIABILITY INSURANCE COVERAGE FOR
 VIN                                                                                                                                              BODILY INJURY AND PROPERTY DAMAGE
Gross Trade-In Allowance                                               Gross Trade In Allowance $                                                 CAUSED TO OTHERS IS NOT INCLUDED IN
                                                                 (e)                                                                              THIS CONTRACT.
 Payoff Made by Sam S                                                  Payoff Made by Seller $
                                                                                                            A
                                                                                                                                     (e)
lienholdet•                                                            Lienhoider                                                           Returned Payment Charge: If any check or other payment instrument
                                                                                                                                            you give us is dishonored or any electronic paynte nt you make is retuned
You assign to Seller all of your rights, title and Interest In such trade-In vehicle(s). Except as expressly stated to Seller
                                                                                                                                            unpaid. you will pay a charge of 325 Cite pa/ment amount is S5n or 'ass
in writing, you represent that your trade-In vehicle(s) has not been involved In an accident, has not had any major body
damage or required any major engine repair, and was not previously used as a taxicab, police vehicle, short term rental                     530 if the payment amount is over $50 but not more than $300' $40 .like
or Is a vehicle that is rebuilt or assembled from parts, a kit car, a replica, a flood vehicle, or a manufacturer buy back.                 payment amount is over $300• or such amount as permitted by 'am
                                                                                                                                                                                    ,
Buyer initials                        Co-Buyer Initials                                                                                     Florida documentary stamp tax required by law in the amount
Trade-In Payoff Agreement: Seller relied on information from you and/or the Penholder or lessor of your trade-in vehicle to arrive          of $               _-                  has been paid or will be paid
at the trade-in payoff amount shown above and in Item 2 of the Itemization of Amount Financed as the Pay Off Made by Seller.                directly to the Department of Revenue
You understand that the amount quoted is an estimate.
                                                                                                                                            Certificate of Registration No      _ .                .
Seller
   . agrees . to pay the payoff amount shown above and .n Item 2 to the Penholder or lessor of the trade-in vehicle or .ts desionee.                                                                                        -
          Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page
                                                                  woo), yuu41   ofu huge
                                                                            me poi  60UlPageID           46
                                                                                         JUJU U eliclyutUut dAlUttliuu O3U (5 .t.55
 In writing, you represent that your trade-in vehicle(s) has not been Involved in an accident, has not had any major body
 damage or required any major engine repair, and was not previously used as a taxicab, police vehicle, short term rental                    $30 if the payment amount is over $50 but not more than $300: $40 if thi
 or is a vehicle that is rebuilt or assembled from parts, a kit car, a replica, a flood vehicle, or a manufacturer buy back.                payment amount is over $300. or such amount as permitted by law.

 Buyer Initial;,               Co-Buyer initials 4                                                                                         Florida documentary stamp tax required by law in the amoun
 Trade-In Payoff Agreement: Seller relied on information from you and/or the lie nholder or lessor of your trade-in vehicle to arrive      of $                          has been pald or w1N be pair
 at the trade-In payoff amount shown above and in Item 2 of the Itemization of Amount Financed as the Pay Off Made by Seller.              directly to the Department of Revenue.
 You understand that the amount quoted is an estimate.
 Seller agrees to pay the payoff amount shown above and in Item 2 to the lienholder or lessor of the trade-in vehicle, or its designee.     Certificate of Registration No.           --
 If the actual payoff amount is more than the amount shown above and in Item 2 you must pay the Seller the excess on demand.
 lithe actual payoff amount is less than the amount shown above and in Item 2 Seller will relund to you any overage Seller receives         You assign all manufacturer rebates and cash back
 from your pnor kenholder or lessor. Except as stated in the 'NOTICE on the back of this contract, any assignee of this contract            incentives used as a downpayment on this contract to
 will not be obligated to pay the Pay Off Made by Seller shown above and in Item 2 or any refund                                            seller. You agree to complete all documents required for
 Buyer Signature X                                                Co-Buyer Signature X                                                      assignment of rebates and incentives.

1_Agreement to Arbitrate: By signing below, you agree that, pursuant to the Arbitration Provision on the reverse side o is contract, you or we may elect to resolve
 any dispute tr, ne ra, ending Ail tion and not by a court action. See the Arbitration Provision
                                                                                              ,
                                                                                                 for..
                                                                                                  .. iri t , n. . • -4C • 7..,- cerning the agreement to arbitrate.
 Buyer Signs)5 a. . l A          Ai A.                                       Co-Buyer SigqX - 11             1' t     r,
 . )LER'S RIGHTTO CANCEL - If Buyer and Co-buyer sign here, the provisions of the Seller's Right to Cancel section on the back, which gives
 the Seller the right to cancel if Seller is unable to assign this contract withiri '               days, will apply. If you fail to return the
 vehicle within 48 hours after receipt of the notice of cancellation, you agree      say Seller   of S N /-1                     per day from
 the te canceilati n until the vehicle is returned or repossessed. , -
 x
 - •er Signs                                                                                            Co-              9

                                            NO COOLING OFF PERIOD
  State law does not provide for a "cooling off" or cancellation period for this sale. After you sign this contract,
  you may only cancel it if the seller agrees or for legal cause. You cannot cancel this contract simply because
  you change your mind. This notice does not apply to home solicitation sales.

  The Annual Percentage Rate may be negotiable with the Seller. The Seller may assign this contract
  and retain its right to receive a part of the Finance Charge.
  HOW THIS CONTRACT CAN BE CHANGED. This contract contains the, entir gr r nt between you                               us relating to this contract. Any char e to i con                     in writing and we
  must sign it No or changes are binding. Buyer Signs..X                                                            Co-Buyer Signs X
  If any part of this contract is not valid, all other parts stay valid. We may or refrain from enforcing any of our rights under this contra without                                         or ample, we
  may extend the time for making some payments without extending the time for making others.
  See back for other important agreements.

  NOTICE TO THE BUYER: a) Do not sign this contract before you read it or if it contains any blank spaces. b) You are
  entitled to an exact copy of the contract you sign. Keep it to protect your legal rights.
 You agree to the terms of this contract, You confirm that before you signed this contract, we gave it to you   d you were free to take it
 and review It. You acknowledge that you have read both sides of this contract, including e arbitrati         visibn on the reverse side,
 before signing . lo.`
                     Z confir.m7     t t you
                                         , received a completely filled-in copy when you          it.
 Buyer Signs X àWA                                                       Dale                   Co-Buyer SignsA                                              Date
 Co-Buyers ana Other Owners — A co-buyer is a person who is responsible for paying the entire debt. An other owner is a person whose name is on the titie lc the vehTcie but
 does not have to pay the debt. The other owner agrees to the security interest in the vehicle given to us in this contract.

 Other owner s gns here X                                                                               Address
 Seller Signs • i"                                                             Date'                  By X                                                                              Til

__ler assigns Is nterest n th s contract to             FitLA'..2 -                                                             --(AsCigfiettortgrthe terms of Serer's agreement(s) with Assignee.
          Assigned w th recourse                                                     • LI Assigned without recourse                                              0 Assgned with limited recourse
    _

 Seller                                                                                 By —                                                         Title 4.
LULW FORM NO. 553-FL•ARB                        t   5          C4E)
                2014 The Re,,o'cls aid Re holds Cunpany TOMER              .4   .•
              THE PRINTER MAKES PIO WARRANTY EXPRESS OR IMPLIED AS TO CONTENT OR
              nreess FOR PURPOSE OF IRIS FORM consina YOUR own LEGAL COUNSEL                                                      ORIGINAL LIENHOLDER
     Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 42 of 60 PageID 47

                                                                                                                         Cl




CR            Craig E. Rothburd                       PA
                                                                                 Senslees E-mail: crothburdMe-flaw.com




                                                           June 14, 2018



         VIA US MAIL - REGULAR &
         CERTIFIED MAIL: 7011 3500 0001 2010 7383
         - Return Receipt Requested
         TransUnion Consumer Solutions
         PO Box 2000
         Chester, Pennsylvania 19016-2000


                   Re:      Disputed Items on Credit Report for the following individual:
                            Name:              Kristen L. Emrich
                            Social Security #:         2462
                            Date of Birth:            1987
                            Mailing Address:                                       , Florida 33579
                            CERPA File No.     6667

         Dear Sir or Madam:

                This letter is to put TransUnion Consumer Solutions on notice that our firm has been
         retained by the above named individual in connection with a certain dispute she has with the
         information contained on her credit report. Accordingly, this letter shall serve as formal notice
         pursuant to the Fair Credit Reporting Act, 15 U.S.C. 1681, et seq. (hereinafter "ACT") that
         Kristen L. Emrich disputes any negative entries as well as any balance due on the following and
         demands a validation of the same pursuant to the ACT.

                                                      Disputed References

                  1.        Ally Bank
                            Loan Number:              .111=5520
                            Vehicle:                  2015 Hyundai Elantra
                            VIN:                                       6353

                Ms. Emrich disputes any amount shown due on this loan after February 19, 2018, and
         any late payment(s) on this account as it was paid in full on February 19, 2018.




    F 813251 BBIK1
    F B13.251.5042



3?0 W KENNEDY BLVD., SUITE 700. TAMPA FLORIDA 33606                           win4v craigerothburdpa corn a
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                                                           TransUnion Consumer Solutions Letter
                                                                           - Kristen L. Emrich
                                                                                        Page 2




        As evidence that the above referenced account was paid in full, enclosed is a copy of
 correspondence from Ally Bank confirming the account was paid in full on February 19, 2018,
 together with a copy of the Retail Installment Sale Contract stamped Paid in Full by Ally Bank
 and delivered to Ms. Emrich. The vehicle that was the subject of the above referenced account
 was involved in a motor vehicle accident and determined to be a total loss. Between Ms.
 Emrich's insurance company and the GAP insurance policy on the vehicle, the entire remaining
 balance due Ally Bank on the above referenced account was paid in its entirety. Therefore, no
 balance remains owed and this account was never past due.

         Ms. Emrich disputes any negative credit reference contained on her credit report relating
 to the above referenced Ally Bank account pursuant to the ACT, Accordingly, demand is hereby
 made for validation, pursuant to the ACT, of the credit references above. If the creditor fails to
 validate the credit reference contained on Ms. Emrich's credit report within the time prescribed
 under the ACT, thirty (30) days, then Ms. Emrich demands its removal from her credit report as
 provided in the ACT. Failure of your company to timely respond will subject it to the statutory
 penalties as well as attorney's fees and costs provisions under the ACT.

        If the creditor does provide a proper validation of the above disputed account, then Ms.
 Emrich demands inclusion of her dispute of the same be included in her credit report as also
 provided in the ACT. I look forward to your timely response to the disputed reference contained
 in Ms. Emrich's credit report pursuant to the ACT. Thank you for your time and anticipated
 cooperation.




                                                     Craig E. Rothburd

 CER/mir
 ENCLOSURES (as stated)

 cc w ends:    Client
               James Giardina
       Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 44 of 60 PageID 49



oily
P.O. Box 8100
Hunt Valley, MD 21030
                                                                           February 20,2018

        Kristen L Emrich

                    , FL 33579-7758



                                                                           Account If: 1111•11111115520
                                                                           Contract Date: 07/23/2016
                                                                           VIN:                      6353
                                                                           Vehicle: 2015, Ilyun, Elantra
                                                                           Date Amount Financed Paid: 02/19/2018

Dear Kristen L Emrich:

Congratulations on paying off your auto financing! And on behalf of the entire Ally (earn, thank you. It was our
privilege to serve your auto financing needs.

Now is a great time to put your money to work for you. Our high standard of service goes beyond auto financing
Whether you'd like to invest in a high-yield CD or open an interest checking account, we at Ally are here to help.
Learn more at allv.com.

We appreciate your business and hope you consider us when financing your next vehicle.

Sincerely,
Ally Financial


Contact Information: You can reach us by visiting ally.com/auto or call 888-925-ALLY (2559).




SMM009 PIF              520                                                                                    001.037364939
MAIL



                                                                       1111111111111111111111111111111111111111111111111111111
                 Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 45 of 60 PageID 50
                                        RETAIL INSTALLMENT SALE CONTRACT - SIMPLE FINANCE CHARGS.
                                                       (WITH ARBITRATION PROVISION)                                                                     rAlt). IN Ftgj.. ,
     DEAL# 1137.36
                                                Dealer Number                                    (-trims-ant Number
                                                                                                                                                                                               r
                                                                                                       CONTV 037364939
                                                                      Co-Buyer Name and Adk           R 001. 00001432369 /00108 BPULL
    InINVOThRICH                                                       SCOTT ALLEN E
                                                                       4302 GUNN HWY                                   PFOLD                                                      6353
         FL 33618                                                      TAMPA FL 3361
  liLLSBOROUGH
 Buyer's Birth Month:                           Co-Buyers Birth Month:
                                                                       HILLSBOROUGH
                                                                                                           1111111111111111111111111111111111 111111111111111111111111                         '4
You, the Buyer (and Co-Buyer, if any), may buy the vehicle below for cash or on credit. By signing this Corntilta yuu u. uu.- — .... ,       vehicle
NI credit under the agreements on the front and back of this contract. You agree to pay the Seller-Creditor (sometimes "we" or "us" in this
xintract) the Amount Financed and Finance Charge in U.S. funds according to the payment schedule below. We will figure your finance charge on a daily
Dasis at the Base Rate of    b .040C% per year. The Truth-In-Lending Disclosures below are part of this contract.
You have thorouahlv inspected,accepted,and approved the vehicle in all respects.
                                            Make              Weight
 New/Used/Demo              Year          and Model           (lbs.)                   Vehicle Identification Number                      Primary Use For Which Purchased
                                                                                                                                         Personal, family, or household unless
                                                                                                                                              otherwise indicated below
                                           HYIJN                                                          .3 .3                     0 business
    IJSPri                2015             EL ANTRA                                                                                 0 agricultural            •
You agree that we advised you whether, based on sellers knowledge, the vehicle was titled, registered, or used as a taxicab, police vehicle, short term rental or is
a vehicle that is rebuilt or assembled from parts, a kit car, a replica, a flood vehicle, or a manufacturer buy back.


                          FEDERAL TRUTH-IN-LENDING DISCLOSURES                                                                       Insurance. You may buy the physical damage insur-
                                                                                                                                     ance this contract requires (see back) from anyone
    ANNUAL                  FINANCE       Amount       Total of                                             Total Sale               you choose who is acceptable to us. You are not
  PERCENTAGE                CHARGE       Financed     Payments                                                Price
                                                                                                                                     required to buy any other insurance to obtain credit
     RATE                      The dollar                The amount of          The amount you    The total cost of
                                                                                                                                     unless the box indicating Vendor's Single Interest
     The cost of               amount the                credit provided       will have paid after
                                                                                                 your purchase on
                                                                                                                                     Insurance is required is checked below. Your choice of
    your credit as              credit will                 to you or          you have made all  credit, including
                                                                                                                                     insurance providers will not affect our decision to sell
    a yearly rate,              cost you.                on your behalf.          payments as        your down
                                                                                    scheduled.      payment of                       you the vehicle or extend credit to you.
                                                                                                                                          If any insurance Is checked below, policies or
                                                                                                $     ? Wit (In is                   certificates from the named Insurance companies will
                           $        369L 52          $        L7'91.73         $       :1608.25 $     211 108.29                     describe the terms and conditions.

 Your Payment Schedule Will Be:                                                                    (e means an estimate                 Check the insurance you want and sign below:
          Number of              Amount of                    When Payments                                                                     Optional Credit Insurance
II at Payments                   Payments                         Are Due                                                           0 Credit Life:      0 Buyer 0 Co-Buyer                  • Both
  .. ..,.
            7 c_                                   Monthly beginning                                                                Term
                                   :8?.1
                                   1                                               , ,
                                                                                                                                    0 Credit Disability: 0 Buyer 0 Co-Buyer                   0 Both
                                                                                   ,                                                Term
                                 Ni A
                                                                                                                                    Premium:
  Or As Follows:                 N/A                                                                                                    Credit Life $                  N! A
                                                                                                                                        Credit Disability $                   hi A
                                                                                                                                    Insurance Company Name :.,1, ,, A
  Late Charge. If payment is not received In full within              10   days after it is due, you will pay a late charge          N.A
  of    5    !'o of each installment                                                                                                 Home Office Address
  Prepayment. If you pay off all your debt early, you may have to pay a penalty                                                       NrA
  Security Interest. You are giving a security interest in the vehicle being purchased.                                             Credit life insurance and credit disability insurance are not
                                                                                                                                    required to obtain credit. Your decision to buy or not to buy
  Additional Information: See this contract for more information including Information about nonpayment,                            credit life insurance and credit dIsabittr insurance will not be a
  default, prepayment penalties, any required repayment in full before the scheduled date and security interest.                    factor in the credit approval process, They will not be provided
                                                                                                                                    unless you sign and agree to pay the extra cost. It you choose
                                                                                                                                    this insurance, the cost is shown in Item 4A of the Itemization
                                                                                                                                    of Amount Financed. Credit fife insurance is based on your
 ITEMIZATION OF AMOUNT FINANCED                                                                                                     original payment schedule. This insurance may not pay all you
 1 Cash Price (Including $ 1 162                  saes tax)                                           $    1c.:1412 Rfl (1)         owe on this contract if you make late payments. Credit disability
                                                                                                                                    insurance does not cover any increase in your payment or in
 2 Total Downpayment                                                                                                                the number of payments.
           Gross Trade-In Allowance                                                                         N/A
                                                                                                                                    If the box above is checked to imitate that you want credit Me
           Less Pay Off Made By Seller (e)                                                                  N/ A                    insurance, please read and sign thelollowing acknowledgments:
                                                                                                                                    1. You understand that you have the option of assigning any
           Equals Net Trade In                                                                                                      other policy or policies you own or may procure for the purpose
           + Cash                                                                            $     7c,On nn                         of covering this extension of credit and that the policy need not
                            N 4                                                                                                     be purchased from us in order to obtain the extension of credit.
           + Other
           (II total downpayment is negative, enter "0" and see 4J below)                             $     7Sflfl nit (2)          X
                                                                                                                                             ,
                                                                                                                                            N'A
                                                                                                      $ t742 RA (3)                 Buyer                                        ''' / P.    Date
 3 Unpaid Balance of Cash Price (1 minus 2)
    Other Charges including Amounts Paid to Others on Your Behalf                                                                   X t‘1,/ A,
                                                                                                                                    Co-Buyer                                       N/ A
                                                                                                                                                                                             Date
     (Seller may keep part of these amounts):
                                                                                                                                    2. You understand that the credit life coverage may be
     A Cost of Optional Credit Insurance Paid to Insurance                                                                          deferred if, at the time of application, you are unable to engage
                                                                                                                                    in employment or unable to perform normal activities of a
        Company or Companies.                                                                                                       person of like age and sex. (You need not sign this acknowl-
        Lite                                                                       N/A                                              edgement if the proposed credit lite insurance policy does not
        Disability                                                                 N/A                                              contain this restriction.)
     8 Vendor's Single Interest Insurance Paid to Insurance Company                                         NIA                     X h,./A                                             .
                                                                                                                                    1:111VAII:                                               natA
                        Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19person
                                                                                  Page        46inilsex,(rOu
                                                                                     of like age   of 60-PageID             51acknowl-
                                                                                                             need not sign this
            Life                                                       $                N/A                                                   edgement if the proposed credit life insurance policy does not
            Disability                                                                  N/A $                                                 contain this restriction.)
                                                                                                                     N/A
        B   Vendor's Single Interest Insurance Paid to Insurance Company                                             N/ A                     X NiA
                                                                                                                                              Buyer
                                                                                                                                                                                                 NA---
                                                                                                                                                                                                  / Dale
        C   Other Optional Insurance Paid to Insurance Company or Companies                                          N/ A
        D   Optional Gap Contract                                                                   $         Rgq on                          X N/o
                                                                                                                                                                                           N/A
        E   Official Fees Paid to Government Agencies                                                            N/4                          Co-Buyer                                             Date
                                                                                                                                              3. You understand that the benefits under the policy will ter-
        F   Government Documentary Stamp Taxes                                                                 61 nn                          minate when you reach a certain age and affirm that your age
        G   Government Taxes Not Included in Cash Price                                                          N/                           is accurately represented on the application or patty.
        H Government License and/or Registration Fees                                                                                         X fq ,/ A
                                                                                                                                                                                                 N/A
                              License/Registration Fee                                              $                                         Buyer                                                      Date
-,!4!                                                                                                         16S R5
 noA        Government Certificate of Tale Fees                                                                  N./ A                        X N/ A                                             N/A
        J Other Charges (Seller must identify who is paid and                                                                                 Co-Buyer                                              'Mite--
            describe purpose)                                                                                                                               Other Optional Insurance
              to N/ A                               for Prior Credit or Lease Balance (e)                         N/A                         El -A11-11
                 io FWS INC                         for SERV CONTRACT                                      ?ROA           no                               Type of Insurance                        “idan
                 to N/A                             for N/A                                                         NIL                       Premium $               to/A
                                                                                                                                                                       -->
                 toN/A                             tor N/A                                                          N/A                       Ins. Co. Name & Address N! A
                 toFWS INC                         torMAINT PLAN                                           1438.00                             N/A
                 toN/A                             forN/A                                                      N/A                             N/11
                 toN/A                             torN/A                                                          N/A                        0 f‘.1 / A                                           N//1
                 toN/A                             torN /                                                          NJ L                                  Type of Insurance                          - Term
                 toNIA                             forN/A                                                           N/                       Premium $                       N / r.
                 toN / A                           forN /                                                          N/A                       Ins. Co. Name & Address N./           A.
            Total Other Charges and Amounts Paid to Others on Your Behalf                                    $     r)(TP-)      P5    (4)    NIA
  5 Loan Processing Fee Paid to Seller (Prepaid Finance Charm)                                                                 N/A    (5)    NIA                        WS,
 6 Amount Financed (3 plus                                                                                   $1701c_7?                (6)    Ell N 4                                              1.   / Tem
                                                                                                                                                   ' t' Type of Insurance

 OPTION: 0 You pay no finance charge if the Amount Financed, item 6, is paid in full on or before                                            Premium $
         N/A                    , Yedii / A   SELLER'S INITIALS        n!./P.                                                                Ins. Co. Name & Address • _, •
                                                                                                                                                                     I/M



 OPTIONAL GAP CONTRACT. A gap contract (debt cancellation contract) is not required to obtam credit and will not be provided                 16 , 1A

 unless you sign below and agree to pay the extra charge. It you choose to buy a gap contract, the charge is shown in Item 40 of the
 Itemization of Amount Financed. See your gap contract for details on the terms and conditions it provides. I is a part of this contract.    ill   N/A                                             "
                                                                                                                                                      ' Type of Insurance                           ''Term
 Term       /S                                    Mos                1Me 1A 0                                                                Premium $                    .i/A
                                                                                                                                                                             .,
                                                                                        Name of Gap Con                                      Ins Co, Name & Address
                                     _
         . to buy a cg,.a..iiz
                             )  rS14.6
                              .r7 76   4)
                                                                                                                                             m/A
                   /N
 Buyer Signg4...i.                                                            (
                                                                                                                                             Ep/A.                                               ..,t
                                                                                                                                               '' • Type of Insurance                            ' " Term
           mi•
  ED VENDOR'S SINGLE INTEREST INSURANCE (VSI insurance): If the preceding box is checked, the Creditor                                       Premium $                   l.14
                                                                                                                                                                         ill
  requires VSI insurance for the initial term of the contract to protect the Creditor for loss or damage to the vehicle                      Ins. Co. Name & Address
  f—,Ilision, fire, theft). VSI insurance is for the Creditor's sole protection. This insurance does not protect your
        est in the vehicle. You may choose the insurance company through which the VSI Insurance Is                                         N/A
  ermined. If you glect to purchase VSI insurance through the Creditor, the cost of this Insurance is
  $                '' '      and is also shown in Item 48 of the Itemization of Amount Financed. The coverage is for                         Other optional insurance is not required to obtain credit. Your
  the initial term of the contract.                                                                                                          decision to buy or not buy other optional insurance will not be
                                                                                                                                             a factor in the credit approval process. It will not be provided
  You authorize us to purchase Vendor's or Lender's Single Interest Insurance.                                                               unless you sign and agree to pay the extra cost.
                                                                                                                                             I want the insurance checked above.
 Buyer Signs X              N/A                      Co-Buyer Signs X           N• A                          D.t119?'.                      Xig /a
                                                                                                                                                                                              ", . A
                                                                                                                                             Buyei Signature                                             Date
                           Trade-In Vehicle                                                Trade-In Vehicle
                                                                                                                                             XN/A                                          NA
                           makeN/A                                                                                                           Co-Buyer Signature                                          Dale
 YearN/ A                                                             Year N / A            Make N A
IMWN/A                                                                Makt4 / A                                                                LIABILITY INSURANCE COVERAGE FOR
 \ANN / A                                                             VN N/A                                                                   BODILY INJURY AND PROPERTY DAMAGE
 Gross Trade-In Akiwarce $ N/A                                        Gross Trade-In Allowance $                                               CAUSED TO OTHERS IS NOT INCLUDED IN
                                                                                                                                               THIS CONTRACT.      ..
 Payoff Made by Seer $         N/A                             (e)    Payoff Made by Seiler $      N /A                              (e)
 lienhadeN_L_A__                                                      Uenholdeal,4                                                          Returned Payment Charge: If any check or other payment instrument
                                                                                                                                            you give us is dishonored or any electioric payment you make is returned
 You assign to Seller all of your rights, title and interest in such trade-In vehicle(s). Except as expressly stated to Seller
                                                                                                                                            unpaid you will pay a charge of $25 if the payment amountis $50 or lesS
 In writing, you represent that your Usde-In vehicle(s) has not been Involved in an accident, has nol had any major body
 damage or required any major engine repair, and was not previously used as a taxicab, police vehicle, short term rental                    $30 if the payment amount is over $50 but not more than POO; $40 if the
 or lea vehicle that is rebuilt or assembled from parts, a kit car, a replica, a flood vehicle, or a manufacturer buy back.                 payment amount is over $300; or such amount as permitted bylaw.

 Buyer InItialgi ' A              Co-Buyer Initials NIA                                                                                     Florida documentary stamp lax required by law In the amount
 Trade-In Payoff Agreement: Seller relied on information from you and/or the lienholder or lessor of your traclein vehicle to arrive        of $           `i.1 ! . ':`''._.' has been paid or will be paid
 at the trade-in payoff amount shown above and in Item 2 of the Itemization of Amount Financed as the Pay Off Made by Seller.               directly to the Department of Revenue.
 You understand that the amount quoted is an estimate.
 Seller aorees to Dav the payoff amount shown above and in Item 2 to the lienholder or lessor of the trade-in vehicle. or its desianee.     Certificate of Registration f,i1p:, ,-,,- ', 7 -.
Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 47 of 60 PageID 52




         EXHIBIT G
        Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 48 of 60 PageID 53
                                                                                              981897-11915




PO BOX 380903
BLOOMINGTON MN 65438-0903
                                                                                           September 05, 2018


KRISTEN L EMRICH

         A FL 33606

111.90.1.11,4111.9.111.1...11.1 11111.HHI.111..1 .11111,111.1




          Account Number: II.=5520                                             Hours of Operation: 7AM to 7PM CST
                                                                                                   Monday - Friday
                                                                                                   Saturday 8AM -12pm CST
                                                                               Phone:              800-241-0172


          Dear KRISTEN L EMRICH:

          Previously, we expressed our willingness to work with you in satisfying this obligation and want to offer
          you the following options.

          The Balance Due as of the date of this letter is $156.84.

          We are offering you the options below:

                •      Plan 1 - You must make a single payment of 85% of the balance shown above which is
                       $133.31. The payment must be received no later than FIFTEEN (15) days from the date of
                       this letter. Upon receipt and clearance of this final payment we will consider your account
                       settled in full.
                •      Plan 2- You must make 5 installments at $31.37 totaling $156.84. The first payment must be
                       received no later than FIFTEEN (15) days from the date of this letter. Upon receipt and
                       clearance of all installments your account with Ally will be considered satisfied and you are
                       released from any and all obligations. Each of the future installments must be received on or
                       before the passage of THIRTY (30) days and all payments must clear as good funds. If you fail
                       to make any of the installments, if any payments are returned unpaid, or if any are received
                       later than the 30th day from the prior payment, this arrangement is no longer in effect and you
                       will owe the Balance Due minus whatever payments you remitted.
                                                                                :
Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 49 of 60 PageID 54
                                                                                                   981897-11915




KRISTEN L EMRICH
         520
September 05, 2018
Page 2


In the case of either option, we will furnish updated information to the credit bureaus and send you a
letter reflecting the final status of your account.

You MUST call in to take advantage of this offer. Please contact us at 800-241-0172.

Thank you,
Ally Financial




                                           (Please detach and return)

                             1ETifil-saTEITS)PCIRTIO14,,W1Tfl PAYMENT
ACCOUNT NUMBER:                    5520

                                                                        Reference # 952672418
NAME: KRISTEN L EMRICH

                                                                        PAYMENT PROCESSING CENTER
                                                                        P.O. BOX 78369
 Amount Enclosed:                                                       PHOENIX AZ 85062-8369
                                                                        11 "1111111111111111"11111"111111111"111111111111111111111

    DO NOT SEND CASH OR. POST DATED CHECKS ALL CHECKS WILL BE DEPOSITED UPON RECEIPT MAKE CHECKS PAYABLE TO ALLY
                             RETURN THIS COUPON WITH YOUR PAYMENT TO THE ABOVE ADDRESS



                                            523 000952672418 0013331 4
Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 50 of 60 PageID 55 oos.DC (4.i0)
     Notice About Credit Bureau Disputes, If you disagree with information reported about your
     account to a credit bureau, you can contact the credit bureau directly. Or, you can write to us at:
     P.O. Box 380901, Bloomington, MN, 55438-0901




                                     CHANGE OF RESIDENCE ADDRESS
                              0 Buyer/Lessee                             1:) Co-Buyer/Co-Lessee
                    Name:
          Account Number:
            Street Address:
                     City:                      .            State:                     Zip:
                   County:
          Home Telephone: (      )                           Business Telephone: (      )
                      For a change of address, complete this form and return with payment.
                    Send any communication disputing amounts you owe to P.O. Box 380901,
                 Bloomington, MN 55438-0901. Send any communications concerning instruments
             tendered as full satisfaction of a debt or with other special restrictions or endorsements to
            the same address. Do not send any such communications to the Payment Processing Center.
       Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 51 of 60 PageID 56



ally
P.O. Box 380902
                        .



Bloomington, MN 55438

                                                                                                          September 09, 2018

           KRISTEN L EMRICH

                        FL 336061459

1lliiIIIulIlliIIIi,iuiilulIlIIIIIiIIlIIIIIIliiiiIIliililiII,IIiIl




          Account Number: 1.1.15520                                                                          Hours of Operation: 8AM to 5PM CST
          Account Balance: $156.84                                                                                             Monday- Friday
                                                                                                             800-241-0172

          Dear Kristen L Emrich:

          In prior correspondence, we advised you of your responsibility with regard to the balance of $156.84 on
          your account and of our willingness to work with you in this matter.

          Your failure to respond to our previous letters is a matter of great concern to us. Therefore, we urge that
          you contact us without further delay at 800-241-0172. As a reminder, we will not release the title/security
          interest in your vehicle until the obligation is satisfied.

          Sincerely,
          Ally Financial




                                                                                                               RECEIVED               SEP 1 7      2018

                                                                                                                                                    982371-00733
                                                                                                                                                     Recovery L8T201
                                                                    (Please detach and return)


               4134#                              ak4                                                             -—
                                                                                                                   KsqlffgrauE
           ACCOUNT NUMBER:                                  15520

    0 SEE REVERSE FOR CHANGE OF ADDRESS                                                          Reference # 952672418


            Total Due Now $156.84                                                                PAYMENT PROCESSING CENTER
                                                                                                 P.O. BOX 78369
            Amount Enclosed:                                                                     PHOENIX AZ 85062-8369
                                                                                                 11"1111'111111111111"11111"111111'111"11'111'1111111111111111


             DO NOT SEND CASH OR POST DATED CHECKS. ALL CHECKS WILL BE DEPOSITED UPON RECEIPT. MAKE CHECKS PAYABLE TO ALLY.
                                      RETURN THIS COUPON VVITH YOUR PAYMENT TO THE ABOVE ADDRESS.



                                                                      523 000952672418 0015684 4
Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 52 of 60 PageID 57 011180C ‘4,101
     Notice About Credit Bureau Disputes. If you disagree with information reported about your
     account to a credit bureau, you can contact the credit bureau directly. Or, you can write to us at:
     P.O. Box 380901, Bloomington, MN, 55438-0901




                                     CHANGE OF RESIDENCE ADDRESS
                              0 Buyer/Lessee                             0 Co-Buyer/Co-Lessee
                   Name:
          Account Number:
            Street Address;
                      City:                                   State:                    Zip:
                  County:
          Home Telephone: (     )                            Business Telephone: (      )
                      For a change of address, complete this form and return with payment.
                    Send any communication disputing amounts you owe to P.O. Box 380901,
                 Bloomington, MN 55438-0901. Send any communications concerning instruments
             tendered as full satisfaction of a debt or with other special restrictions or endorsements to
            the same address. Do not send any such communications to the Payment Processing Center.
Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 53 of 60 PageID 58




         EXHIBIT H
          V
        it
  •
              Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 54 of 60 PageID 59
74791-00314




      ally
      PO Box 380901
      Bloomington, MN 55438-0901
                                                                              July 06, 2018
                                                                                                                                      =:=11
                                                                                                                                      .•=11%.1119

                                                                                                                                      EM=1
                                                                                                                                      211=1=11:
               KRISTEN L EMRICH
               SCOTT A EMRICH

                       , FL 33606-1459




               Account No.: .111111115520
               Vehicle: 2015 HYUNDAI ELANTRA
               VIN:                  6353
               Balance Due; $156,84

               Dear KRISTEN L EMRICH and SCOTT A EMRICH:

               We regret to report that we referred your account to our Asset Recovery Center because you did not pay
               your payments. The unpaid balance on your account now shows as a Charged-Off Loss on our records.
               Under the terms of your contract, you are responsible for payment of this amount.

               Please call the Asset Recovery Center at the number listed below to make arrangements to pay.

               Sincerely,
               Ally Financial
               800-241-0172
               allyauto.com




                                                           RECEIVED JUL 1 6 2018




                                                                                                       SAM Post•Ctfarge Off - Matured (PAX)
Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 55 of 60 PageID 60




           EXHIBIT I
     Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 56 of 60 PageID 61




P.O.Box 380902
Bloomington, MN 55438

                                                                                       July 10, 2018                                           l====

                                                                                                                                               IMMI!!!1

         KRISTEN L EMRICH

                  FL 336061459




        Account Number: .1.11115520                                                      Hours of Operation: 8AM to 5PM CST
        Account Balance: $156.84                                                                            Monday - Friday
                                                                                         800-241-0172

        Dear Kristen L Emrich:

        This is a reminder that a balance of $156.84 remains due on your account. Previously, we expressed
        our willingness to work with you in satisfying this obligation. We would like to restate this. However, it is
        very important that suitable arrangements be made without further delay.

        Please contact us at 800-241-0172 for assistance in this extremely important matter.

        Sincerely,
        Ally Financial




                                                     RECEIVED JUL 1 6 zoi8


                                                                                                                                975108-00871
                                                                                                                                 Recovery NP1 01
                                                 (Please detach and return)
                                                                                                                                ;,.
                                                                                                                        eirAturi.

        ACCOUNT NUMBER: I15520

   0 SEE REVERSE FOR CHANGE OF ADDRESS                                        Reference # 952672418


          Total Due Now $156.84                                               PAYMENT PROCESSING CENTER
                                                                              P.O. BOX 78369
         Amount Enclosed:                                                     PHOENIX AZ 85062-8369
                                                                              11"11111111111111111"11111"1111111111"1111111111111111'11111


          DO NOT SEND CASH OR POST DATED CHECKS, ALL CHECKS WILL BE DEPOSITED UPON RECEIPT. MAKE CHECKS PAYABLE TO ALLY.
                                   RETURN THIS COUPON WITH YOUR PAYMENT TO THE ABOVE ADDRESS.



                                                   .523 000952672418 0015684 4
         Case 8:19-cv-00320-JSM-CPT
Filing # 83310598                     DocumentPM
                   E-Filed 01/14/2019 03:18:14 1-1 Filed 02/06/19 Page 57 of 60 PageID 62

   FORM 1.997. CIVIL COVER SHEET

   The civil cover sheet and the information contained in it neither replace nor supplement the filing and service of pleadings
   or other documents as required by law. This form must be filed by the plaintiff or petitioner for the use of the Clerk of
   Court for the purpose of reporting judicial workload data pursuant to section 25.075, Florida Statutes. (See instructions for
   completion.)


       I.          CASE STYLE
                                        IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT,
                                        IN AND FOR HILLSBOROUGH COUNTY, FLORIDA



                                                                       Case No.: _________________
                                                                       Judge: ____________________
   Kristen L. Emrich, Craig E Rothburd
   Plaintiff
                 vs.
   Ally Financial, Inc.
   Defendant


       II.         TYPE OF CASE

                                                                               ☐    Non-homestead residential foreclosure
               ☐ Condominium                                                        $250,00 or more
               ☒ Contracts and indebtedness                                    ☐    Other real property actions $0 - $50,000
               ☐ Eminent domain                                                ☐    Other real property actions $50,001 - $249,999
               ☐ Auto negligence                                               ☐    Other real property actions $250,000 or more
               ☐ Negligence – other
                 ☐     Business governance                                     ☐    Professional malpractice
                 ☐     Business torts                                                 ☐      Malpractice – business
                 ☐     Environmental/Toxic tort                                       ☐      Malpractice – medical
                 ☐     Third party indemnification                                    ☐      Malpractice – other professional
                 ☐     Construction defect                                     ☐    Other
                 ☐     Mass tort                                                      ☐      Antitrust/Trade Regulation
                 ☐     Negligent security                                             ☐      Business Transaction
                 ☐     Nursing home negligence                                        ☐      Circuit Civil - Not Applicable
                 ☐     Premises liability – commercial                                ☐      Constitutional challenge-statute or
                                                                                             ordinance
                 ☐     Premises liability – residential
                                                                                      ☐      Constitutional challenge-proposed
               ☐ Products liability                                                          amendment
               ☐ Real Property/Mortgage foreclosure                                   ☐      Corporate Trusts
                 ☐     Commercial foreclosure $0 - $50,000                            ☐      Discrimination-employment or other
                 ☐     Commercial foreclosure $50,001 - $249,999                      ☐      Insurance claims
                 ☐ Commercial foreclosure $250,000 or more                            ☐      Intellectual property
                 ☐     Homestead residential foreclosure $0 – 50,000                  ☐      Libel/Slander
                 ☐     Homestead residential foreclosure $50,001 -                    ☐      Shareholder derivative action
                       $249,999
                                                                                      ☐      Securities litigation
                 ☐ Homestead residential foreclosure $250,000 or
                       more                                                           ☐      Trade secrets
                 ☐ Non-homestead residential foreclosure $0 -                         ☐      Trust litigation
                       $50,000
                 ☐ Non-homestead residential foreclosure
                       $50,001 - $249,999
      Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 58 of 60 PageID 63


                                                     COMPLEX BUSINESS COURT

        This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
        Administrative Order. Yes ☐ No ☒


        III.    REMEDIES SOUGHT (check all that apply):
                  ☒ Monetary;
                  ☒ Non-monetary declaratory or injunctive relief;
                  ☐ Punitive

        IV.     NUMBER OF CAUSES OF ACTION: (                )
                (Specify)


                4

        V.      IS THIS CASE A CLASS ACTION LAWSUIT?
                    ☐ Yes
                    ☒ No

        VI.     HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                   ☒ No
                   ☐ Yes – If “yes” list all related cases by name, case number and court:




        VII.    IS JURY TRIAL DEMANDED IN COMPLAINT?
                    ☒ Yes
                    ☐ No



I CERTIFY that the information I have provided in this cover sheet is accurate to the best of my knowledge and belief, and
that I have read and will comply with the requirements of Florida Rule of Judicial Administration 2.425.

Signature s/ Craig E Rothburd          FL Bar No.:   49182
          Attorney or party                                               (Bar number, if attorney)

        Craig E Rothburd         01/14/2019
                (Type or print name)                                         Date
         Case 8:19-cv-00320-JSM-CPT
Filing # 83310598                     DocumentPM
                   E-Filed 01/14/2019 03:18:14 1-1 Filed 02/06/19 Page 59 of 60 PageID 64
   FORM 1.997. CIVIL COVER SHEET

   The civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other
   papers as required by law. This form shall be filed by the plaintiff or petitioner for the use of the Clerk of the Court for the purpose of
   reporting judicial workload data pursuant to Florida Statues section 25.075.


       I.        CASE STYLE

       IN THE COUNTY COURT FOR THE
       THIRTEENTH JUDICIAL CIRCUIT
       IN HILLSBOROUGH COUNTY, FLORIDA
       CIVIL DIVISION
       KRISTEN L. EMRICH,
                 Plaintiff(s),                                       CASE NO.:
       v.                                                            DIVISION:
       ALLY FINANCIAL, INC.,
                 Defendant.


        II.   TYPE OF CASE
                 (If the case fits more than one type of case, select the most definitive category.) If the most descriptive label is a
                 subcategory (is indented under a broader category), place an “x” in both the main category and subcategory boxes.

   ☐    Condominium                                                                 ☐    Non-Homestead Residential Foreclosure $250,000
   ☒    Contracts and indebtedness                                                       or more
   ☐    Eminent Domain                                                              ☐ Other Real Property Actions $0 - $50,000
   ☐    Auto Negligence                                                             ☐ Other Real Property Actions $50,001 - $249,999
   ☐    Negligence – other                                                          ☐ Other Real Property Actions $250,000 or more
        ☐ Business Governance                                                 ☐     Professional Malpractice
        ☐ Business Torts                                                            ☐ Malpractice - Business
        ☐ Environmental/Toxic Tort                                                  ☐ Malpractice - Medical
        ☐ Third Party Indemnification                                               ☐ Malpractice – Other Professional
        ☐ Construction Defect                                                 ☐     Other
        ☐ Mass Tort                                                                 ☐ Antitrust/Trade Regulation
        ☐ Negligent Security                                                        ☐ Business Transaction
        ☐ Nursing Home Negligence                                                   ☐ Constitutional Challenge – Statute or Ordinance
        ☐ Premises Liability - Commercial                                           ☐ Constitutional Challenge – Proposed Amendment
        ☐ Premises Liability - Residential                                          ☐ Corporate Trusts
   ☐    Products Liability                                                          ☐ Discrimination – Employment or Other
   ☐    Real Property/Mortgage Foreclosure                                          ☐ Insurance Claims
        ☐ Commercial Foreclosure $0 - $50,000                                       ☐ Intellectual Property
        ☐ Commercial Foreclosure $50,001 - $249,999                                 ☐ Libel/Slander
        ☐ Commercial Foreclosure $250,000 or more                                   ☐ Shareholder Derivative Action
        ☐ Homestead Residential Foreclosure $0 - $50,000                            ☐ Securities Litigation
        ☐ Homestead Residential Foreclosure $50,001 - $249,999                      ☐ Trade Secrets
        ☐ Homestead Residential Foreclosure $250,00 or more                         ☐ Trust Litigation
        ☐ Non-Homestead Residential Foreclosure $0 - $50,000
        ☐ Non-Homestead Residential Foreclosure $50,001 -
             $249,999




   Emrich v. Ally Financial, Inc.                                                                                                   Page 1 of 2
   - Civil Coversheet
         Case 8:19-cv-00320-JSM-CPT Document 1-1 Filed 02/06/19 Page 60 of 60 PageID 65


    III.   REMEDIES SOUGHT (check all that apply):
           ☒ Monetary;
           ☒ Non-monetary declaratory or injunctive relief;
           ☐ Punitive


    IV.    NUMBER OF CAUSES OF ACTION: ( 4 )
           (Specify) 15 U.S.C. §1681n – Willful Violations; 15 U.S.C. §1681n – Negligent Violations;
                          Section 559.72, Florida Statues; Declaratory and Injunctive Relief



    V.     IS THIS CASE A CLASS ACTION LAWSUIT?
           ☐ Yes
           ☒ No


    VI.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
           ☒ No
           ☐ Yes – If “yes” list all related cases by name, case number and court:




    VI.    IS JURY TRIAL DEMANDED IN COMPLAINT?
           ☒ Yes
           ☐ No




     I CERTIFY that the information I have provided in this cover sheet is accurate to the best of my knowledge and
belief.


     DATED this 14th day of January 2019.


                                                             CRAIG E. ROTHBURD, P.A.

                                                               /s/Craig E. Rothburd
                                                             CRAIG E. ROTHBURD, ESQ.-FBN: 0049182
                                                             Attorney for Plaintiff
                                                             File No. 6667
